

Matter of Attorneys Who are in Violation of Judiciary Law Section 468-a for Failing to Register (2025 NY Slip Op 01717)





Matter of Attorneys Who are in Violation of Judiciary Law Section 468-a for Failing to Register


2025 NY Slip Op 01717


Decided on March 20, 2025


Appellate Division, First Department


Per Curiam 



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 20, 2025
SUPREME COURT, APPELLATE DIVISION
First Judicial Department

Peter H. Moulton
Barbara R. Kapnick Saliann Scarpulla Julio Rodriguez III LlinÉt M. Rosado


Motion No. 2025-01423|Case No. 2024-06267|

[*1]In the Matter of Attorneys Who Are In Violation of Judiciary Law Section 468-a for Failing to Register — Whose Last Names Begin with A Through Z: Attorney Grievance Committee for the First Judicial Department, Petitioner, Attorneys In Violation of Judiciary Law Section 468-a Respondents.



Disciplinary proceedings instituted by the Attorney Grievance Committee for the First Judicial Department.




Jorge Dopico, Chief Attorney, Attorney Grievance Committee, New York, for petitioner.
No appearances for respondents.



Per Curiam 


Section 468-a of the Judiciary Law requires every resident and nonresident attorney admitted to practice in the State of New York to file a biennial registration statement with the administrative office of the courts. A biennial registration fee must be paid, if applicable, at the time the statement is filed. This registration statement, which is mailed every two years by the Office of Court Administration to every attorney so admitted, must be timely filed and any applicable fees paid regardless of whether the attorney is actually engaged in the practice of law in New York or elsewhere. Attorneys who certify to the Chief Administrator of the Courts that they have retired from the practice of law are exempt from paying the registration fee at the time the statement is filed. Subdivision (5) of the statute provides further that "[n]oncompliance by an attorney with the provisions of this section and the rules promulgated hereunder shall constitute conduct prejudicial to the administration of justice and shall be referred to the appropriate appellate division of the supreme court for disciplinary action."
Pursuant to this provision, petitioner Attorney Grievance Committee (AGC) seeks an order suspending from the practice of law certain attorneys (whose last name begins with the letters A through Z) who are in violation of the statute, in that they have failed to file the registration statement and pay any applicable registration fees for one or more registration periods after due purported notification. This Court has previously held that failure to register or re-register, and pay the applicable biennial registration fee constitutes professional misconduct warranting discipline (see Matter of Morgado, 159 AD3d 50 [1st Dept 2018]). Since 1997 this Court has granted similar motions and suspended attorneys en masse for such failure to register or re-register, and pay any applicable registration fee pursuant to Judiciary Law § 468-a (see Matter of Attorneys in Violation of Judiciary Law § 468-a, 211 AD3d 65 [1st Dept 2022]).
The attorneys in question have been duly notified of their noncompliance and given an opportunity to cure their default. The Office of Court Administration mailed or emailed each of the defaulting attorneys a biennial registration notice to their last known home address, a second notice to their last known business address and, when necessary, a final notice to their home address. Attorneys who remained in default following these notices were referred to the AGC. On November 4, 2024, this Court published notice in the New York Law Journal that the AGC would institute an omnibus disciplinary proceeding seeking immediate suspension from the practice of law against those attorneys who did not cure their default by December 4, 2024. Thereafter, a list of approximately 1,095 attorneys who failed to submit satisfactory proof of registration and payment of applicable fees was forwarded to the AGC, which filed a motion for service by publication [*2]of the notice of petition to suspend.
Pursuant to the order of this Court entered November 12, 2024, which authorized service of the notice of petition to suspend by publication in the New York Law Journal for five consecutive days, a list of the defaulting attorneys along with their last known business addresses, was so published commencing January 13, 2025. A notice was also posted on the websites of this Court and the New York Law Journal. The order further provided that attorneys on the default list may submit proof from the Office of Court Administration that they are in compliance with all the registration requirements (including payment of any applicable registration fees), within thirty (30) days of the last date the notice appeared in the New York Law Journal, or they would be subject to a further order of the Court immediately suspending them from the practice of law in the State of New York.
The attorneys who remain in noncompliance with Judiciary Law § 468-a despite the notification process described above are the subject of the Grievance Committee's instant motion to suspend. No opposition has been filed.
Accordingly, due to the continued failure to comply with the statute, petitioner's motion to suspend such attorneys shall be granted to the extent of suspending those attorneys whose names are enumerated in the attached schedule from the practice of law in the State of New York, effective immediately.
All concur. March 20, 2025



Name
Last Registered Address
Reg ID.
Oath Date
Dept.

ABEYGUNAWARDANA
CHANDI 
No Business Address
5053400
06/11/2012
1

ABRAMS
MARK 
19 W 44TH ST STE 1507
NEW YORK, NY 10036-6101
1424324
01/25/1978
2

ADDISON
AMANDA GIBBONS
No Business Address
5470620
10/24/2016
1

ADKINS
MARY PATRICIA
No Business Address
4905592
03/02/2011
1

ADLER
ELIZABETH ANNE
Lawrence J. Wertheimer, P.C.
225 Broadway FL 38
New York, NY 10007-3035
2290914
06/19/1989
1

ADLER
ELYSE VICTORIA
CCAR
355 LEXINGTON AVE
NEW YORK, NY 10017-6603
5173901
10/23/2013
3

ADLER
SPENCER ELLIOT
1675 BROADWAY FL 20
NEW YORK, NY 10019-6650
2722981
07/01/1991
1

AGHA
MAVARA 
SULLIVAN &amp; CROMWELL
125 BROAD ST
NEW YORK, NY 10004-2400
5543434
11/20/2017
1

AGUILAR-FABRE
ANAIS MARIE
Joshua Brian Irwin, P.C.
225 Broadway FL 3
New York, NY 10007-3904
5375225
11/04/2015
2

AHN
BO YONG
KIM &amp; CHANG LAW OFFICES
55 SAEMUNAN-RO 5-GIL (NORTHGATE BUILDING)
CHONGRO-GU
SEOUL 110-052, SOUTH KOREA
4638631
10/06/2008
1

AHN
SANDRA RHEE
J.P. MORGAN CHASE LEGAL COMPLIANCE DEPT.
4 New York Plz FL 9
New York, NY 10004-2413
2677235
03/20/1995
1
AI
NING 
JPMORGAN CHASE &amp; CO.
383 Madison Ave
New York, NY 10179-1
5358932
07/16/2015
3

ALBERT
ALLYSON RACHEL
Zinda Law Group, PLLC
8834 N Capital of Texas Hwy
Austin, TX 78759-7278
4412896
05/15/2006
1

ALGAN
AYLIN 
No Business Address
4757985
10/26/2009
1

ALLARD
ALEXANDER GAGE
No Business Address
5603485
07/16/2018
1

ALLEN
LAUREN MICHELLE
Kaplan Test Prep
750 3rd Ave FL 7
New York, NY 10017-2700
5072038
09/[*3]10/2012
1

ALLEN
MARGARET MARY
METLIFE
200 PARK AVE
NEW YORK, NY 10166-5
4233235
11/18/2009
2

ALON
SHAHAR 
Shahar Alon, Attorney
Maslianski 3
Jerusalem, ISRAEL
5145974
04/29/2013
1

AMAR-COHEN
STELLA ESTHER RACHEL
Stella Amar Cohen
205 W 76th St
New York, NY 10023-8221
4538443
10/01/2007
1

AMARAL SURCAN
CAMILA 
PIRELLI TIRE LLC
546 5th Ave FL 8
New York, NY 10036-5000
4551693
12/04/2007
1

AMORUSO
VANESSA ANN
Challenger Homes
8605 Explorer Dr Ste 250
Colorado Springs, CO 80920-1013
2925345
10/26/1998
1

ANDERSON
C HARPER
LOCAL INITIATIVE SUPPORT CORP.
501 7TH AVE 7TH FL
NEW YORK, NY 10018-5970
1733880
07/07/1981
1


ANDERSON
JOHN CHARLES
OneMain Financial
162 Alpine Park Rd
Moultonborough, NH 3254-4002
2399913
02/04/1991
1
ANDRADE
CRAIG M.
BAKER &amp; MCKENZIE
TOWER ONE
LEVEL 46 100 BARANGAROO AVE
SYDNEY NSW 2000, AUSTRALIA
2755155
05/06/1996
1

ANDREN
CARL MAGNUS
EVERSHEDS SUTHERLAND ADVOKATBYRA AB
BOX 140 55, STRANDVAGEN 1
104 40 STOCKHOLM, SWEDEN
2340859
03/26/1990
1

ANDREWS
DWAYNE M.
Cohen Schneider &amp; O'Neill LLP
275 Madison Ave FL 19
New York, NY 10016-1101
5141650
08/28/2013
2

ANGELINI
AMANDA MARIA
No Business Address
2925287
10/26/1998
1

ANSTEY
DANIEL 
Epiq
4 NY Plaza
New York, NY 10004
4410031
06/19/2006
4

ANTEL
SCOTT CARLYLE
BCLP
Gate village 10
DIFC
Dubai, UNITED ARAB EMIRATES
2349959
05/21/1990
1

ANTIER
CECILE C.
DELOITTE TAX LLP
30 ROCKEFELLER PLZ
NEW YORK, NY 10112-15
4758249
10/20/2009
1

ARMADY
BECKY 
PATTERSON BELKNAP WEBB &amp; TYLER LLP
1133 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-6710
5557129
10/23/2017
1

ARSLANIAN
KAYLA N
Office of the Mayor
1 City Hall
New York, NY 10007-1298
5662226
12/10/2018
1

ARZUAGA
MILAGROS ROSARIO
No Business Address
1954593
04/09/1979
1

ASEM
SEDI GERALD
WHITE &amp; CASE LLP
1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10020-1001
5541008
08/02/2017
2
ATLAS
ADI 
Deloitte Tax LLP
30 Rockefeller Plz
New York, NY 10112-15
5430723
05/09/2016
1

AVAYOU
JACQUES 
MOODY'S INVESTORS SERVICE
24/F ONE PACIFIC PLACE
88 QUEENSWAY
ADMIRALTY, HONG KONG
2925691
11/16/1998
1

AWAD-FARID
ASMAA 
HOGAN LOVELLS US LLP
875 3RD AVE
NEW YORK, NY 10022-6225
5622857
07/16/2018
1

AWEDA
OLUWAFUNSO ADESOLA
CITIBANK N.A.
145 WEST STREET
SANDOWN JOHANNESBURGH 2196, SOUTH AFRICA
4639928
10/07/2008
1

AXT
KAREN JEAN
No Business Address
4090130
10/28/2002
1

AYARRA
MANUEL 
No Business Address
5685540
02/04/2019
1

AZARBAD
SHLOMO 
MAGLAN CAPITAL LP
25 W 39TH ST FL 16
NEW YORK, NY 10018-3805
4145140
07/25/2001
2

BAILEY
JENNIFER ANN
No Business Address
2706992
09/18/1995
1

BAKER
JAMES THOMAS
GOLDMAN, SACHS &amp; CO.
1011 Galatyn Pkwy Bldg D
Richardson, TX 75082-4307
5179049
02/03/2014
1

BALAN
LAURA DIANA
JPMORGAN CHASE &amp; CO.
4 NEW YORK PLZ FL 9
NEW YORK, NY 10004-2413
5228077
12/07/2016
2

BANDUKDA
NADIA SHEIKH
Johnson and Johnson
1 Johnson and Johnson Plz
New Brunswick, NJ 8933-1
5304779
11/24/2014
1


BARNETT
ROGER LAWRENCE
SHAKLEE CORPORATION
4747 WILLOW ROAD
PLEASANTON, CA 94588
2377919
12/03/1990
1
BARNETT
[*4]SLOAN LINDEMANN
BARNETT FAMILY OFFICE, C/O SEILER LLP
3 LAGOON DRIVE STE 400
REDWOOD CITY, CA 94065
2632826
08/08/1994
1

BARNETT
THOMAS ISAAC
No Business Address
2638237
09/19/1994
1

BARRERA PIECK
DIEGO 
CREEL, GARCIA-CUELLAR, AIZA Y ENRIQUEZ, S.C.
PEDREGAL 24 PISO 24
MOLINO DEL REY
MEXICO CITY 11040, MEXICO
5292669
11/24/2014
1

BARROS
DELYANNE DE ALVES
Practical Law Thomson Reuters
3 Times Sq
New York, NY 10036-6564
4677043
07/29/2009
2

BARUCHOWITZ
MITCHELL B.
MERIDA CAPITAL
641 LEXINGTON AVE STE 1801
NEW YORK, NY 10022-4503
4002432
10/23/2001
1

BARZELAY NAHUM
HILA 
ZYSMAN, AHARONI, GAYER AND CO AND SULLIVAN &amp; WORCESTER LLP
1633 BROADWAY
NEW YORK, NY 10019-6708
5441399
06/27/2016
1

BASHI
SARI 
Tsafririm 10
Givatayim, ISRAEL
4342788
08/01/2005
1

BATULIN
NIKOLAY VALERYEVICH
No Business Address
4265559
10/25/2004
1

BAUER
JONATHAN OSCAR
PASHMAN STEIN PC
21 MAIN ST STE 200
HACKENSACK, NJ 7601-7054
2664449
02/06/1995
1

BAUTISTA
XIMENA 
Perez Bustamante &amp; Ponce
Republica del Salvador N36-140
Piso PH
Quito, ECUADOR
4064143
06/10/2002
1


BAZZI
MICHAEL H.
STANFORD MEDICINE
300 PASTEUR DRIVE
MC 5713
STANFORD, CA 94305
4412722
05/09/2006
1
BEEN
VICKI LYNN
NEW YORK UNIVERSITY SCHOOL OF LAW
40 WASHINGTON SQ S
NEW YORK, NY 10012-1005
2066421
06/18/1984
1

BEHAR
AVI 
No Business Address
2632644
08/08/1994
1

BEHM
DOUGLAS FREDERICK
DOUGLAS F. BEHM, PLLC
14362 N FRANK LLOYD WRIGHT BLVD STE 1000
SCOTTSDALE, AZ 85260-8847
1600386
07/08/1975
1

BELANGER
MARC-ANDRE 
DENTONS CANADA LLP
1 PL VILLE MARIE STE 3900
MONTREAL QUEBEC H3B 4M7, CANADA
4102935
12/16/2002
1

BELSKY
LEAH F.
15 Wyngate Dr
Avon, CT 6001-4112
5057500
06/11/2012
1

BENHAIM DE CAMARET
ANNABEL 
NAITRE ANNADEL BENHAIM
5 RUE GODOT DE MAUROY
75009 PARIS, FRANCE
5031042
03/12/2012
1

BENJAMIN-GOMEZ
ARLEN SIU
NA
NA
New York, NY 10034
4477014
01/24/2007
3

BENNETT
AMY BETH
unemployed
451 W End Ave Apt 11d
New York, NY 10024-5363
2937977
12/07/1998
1

BENTON
KATELYN BELCHER
U.S. Department of Justice, Office of International Affairs
1301 New York Ave NW
Washington, DC 20530-16
5172226
09/16/2013
1

BERK
MARNIE 
NEW YORK LAWYERS FOR THE PUBLIC INTEREST
151 W 30TH ST
NEW YORK, NY 10001-4007
2846269
09/15/1997
1

BERKIS, III
WILLIAM OTTO
No Business Address
5493051
01/23/2017
1
BERKOWITZ
JEFFREY 
No Business Address
2549293
04/26/1993
1

BERLIN
MIRIAM HESS
No Business Address
4073979
07/29/2002
1

BERMAN
ALISON ANNE
PALISADE CAPITAL MANAGEMENT, L.L.C.
1 BRIDGE PLZ N STE 695
FORT LEE, NJ 7024-7104
4427340
06/26/2006
1

BERNER
CHRISTOPHER DAVID
Vice President, Human Resources
First Avenue at 16th Street
New York, NY 10003
2770535
08/05/1996
1

BERRY MANOGUE
CAROLINE 
302 KEITHWOOD RD
WYNNEWOOD, PA 19096-1224
2766657
07/15/1996
1

BERSANI
MATTHEW DONALD
No Business Address
2261444
03/27/1989
1

BERTHET
JEAN-PHILIPPE 
BLM AVOCATS
4 RUE DE SEZE
75009 PARIS, FRANCE
1810399
05/03/1982
1

BERUBE
DANTON ASHER
DANTON ASHER BERUBE, ESQ.NEW YORK BAR
9343 POPLAR GROVE CIR
GERMANTOWN, [*5]TN 38139-8063
2543874
03/22/1993
1

BETHEL
JEREMY J.
CHEMTOB MOSS FORMAN &amp; BEYDA, LLP
527 MADISON AVE FL 7
NEW YORK, NY 10022-4388
4114930
06/11/2003
2

BETTEX
JOHN NEVILLE
No Business Address
4002754
10/29/2001
1

BEZBATCHENKO
TIMOTHY MICHAEL
Columbus Crew SC
1 Black and Gold Blvd
Columbus, OH 43211-2091
4699765
03/16/2009
1

BEZDEK
ANDREA BIANCA
2029 CENTURY PARK E FL 4
LOS ANGELES, CA 90067
3955895
03/27/2001
1

BEZNICKI
KAREN 
Deloitte
555 Mission St Ste 1400
San Francisco, CA 94105-942
4736864
06/23/2009
1

BI
JINGSHUANG 
CHINA NATIONAL OIL AND GAS EXPLORATION AND DEVELOPMENT CORPORATION
NO. 6-1 FUCHENGMEN BEIDAJIE
XICHENG DISTRICT
BEIJING 100034, CHINA
4782546
12/08/2009
1

BILLAN
KRISTINA SARINDAR
CANTOR FITZGERALD LP
110 E 59TH ST FL 3
NEW YORK, NY 10022-1304
5184205
12/05/2013
3

BINDER
STEPHANIE J.
COHEN &amp; GRESSER
800 3RD AVE
NEW YORK, NY 10022-7649
4715033
04/27/2009
1

BIRNBAUM
LAURA POLLAK
Krieger &amp; Krieger
249 E Ocean Blvd Ste 750
Long Beach, CA 90802-8804
5164397
07/01/2013
1

BISON
HILDEGARD 
BP EUROPA SE
WITTENER STRASSE 45
BOCHUM 44789, GERMANY
2337806
03/20/1990
1

BLANDINO
FRANK A.
C/O DIRECT WASTE SERVICES, INC.
50 PARK PL STE 1401
NEWARK, NJ 7102-4310
2672921
03/06/1995
1

BLEIBERG
RICHARD BEVERLY
No Business Address
2143790
07/06/1987
1

BLOCK
JILL D.
NORTON ROSE FULBRIGHT LLP
1301 Avenue of The Americas FL 30
New York, NY 10019-6036
2256527
06/05/1989
1

BLOOM
KARL ADAM
Adam Bloom, Esq. PC
1720 Pacific Ave Apt 239
Venice, CA 90291-8943
4705067
03/23/2009
1

BLUCK
JAMES HARRISON
HUGHES HUBBARD &amp; REED LLP
1 BATTERY PARK PLZ
NEW YORK, NY 10004-1405
1865054
06/01/1983
2

BLUM
JEFFREY CHARLES
JEFFREY C BLUM, ESQ.
4318 TUSCALOOSA PATH
THE VILLAGES, FL 32163
2764124
05/12/1975
1

BLUM
ROSS 
38 E 29TH ST FL 8
NEW YORK, NY 10016-7911
5436027
06/06/2016
1

BOK
CHRISTOPHER WILLIAM
OTC Markets Group
300 Vesey St.
New York, NY 10282
5564901
11/20/2017
1

BOLZAN
ANTHONY L.
Fraen Corporation
80 New Crossing Rd
Reading, MA 1867-3254
3040185
03/13/2000
1

BONEY
LENORA BRENDA
No Business Address
4014726
09/17/2001
1

BONTKOWSKI
EDWARD ALFONSO
Haynes and Boone, LLP
1221 McKinney St Ste 2100
Houston, TX 77010-2020
5049069
07/02/2012
1

BOOTH
WILLIAM TURNER
Cochran, Cowell &amp; Gruman
109 E Front St
Traverse City, MI 49684-5706
4943338
05/04/2011
1

BOSE
SANJOY K.
No Business Address
3988557
07/30/2001
1

BOUGHDAD
HANAE 
UN ASSISTANCE MISSION TO AFGHANISTAN
KABUL, AFGHANISTAN
5180799
10/07/2013
1

BOVE
CORINA INES
ESTUDIO GUYER &amp; REGULES
PLAZA INDEPENDENCIA 811
MONTEVIDEO 11100, URUGUAY
4279121
12/06/2004
1

BOYNE
KATHRYN LOUISE
AMERIPRISE FINANCIAL, INC.,
1099 AMERIPRISE FINANCIAL CTR.
MINNEAPOLIS, MN 55474
2501799
09/21/1992
1

BRANDMEYER
ELEANOR REILEY
No Business Address
5185426
10/28/2013
1

BRANDYS
MARK W.
LAW OFFICE OF MARK BRANDYS
225 BROADWAY STE 1800
NEW YORK, NY 10007-3753
2547362
05/19/1993
2

BRENNAN, III
JAMES PHILIP
Millennium Capital Partners LLP
2nd Floor
50 Berkeley Street
London W1J 8HD, UNITED KINGDOM[*6]
5003264
01/23/2012
1

BRIGGS
LINDSEY VALAINE
Smith &amp; Zuccarini, P.S.
Smith &amp; Zuccarini, P.S.
2155 - 112th Ave NE
Bellevue, WA 98004
4533212
09/10/2007
1

BRIL
DARYA 
No Business Address
5174529
09/16/2013
1

BRODSKY
NINA I.
MOUNT SINAI HEALTH SYSTEM LEGAL DEPT.
150 E 42ND ST
NEW YORK, NY 10017-5612
1976547
03/25/1985
1

BRODY
NEIL 
BRODY &amp; BRANCH LLP
205 LEXINGTON AVE FL 4
NEW YORK, NY 10016-6022
1031129
03/05/1975
2

BROSER
LORI ELLEN
Lori Broser Furnari
104 W 40th St FL 19
New York, NY 10018-3628
2764249
08/21/1996
2

BROWN
GERALDINE REED
THE REED-BROWN CONSULTING GROUP
180 UNION ST
MONTCLAIR, NJ 7042-2125
1253939
10/07/1974
1

BROWN
JOHN EDGAR
GENERAL SERVICES ADMINISTRATION
1 WORLD TRADE CENTER
NEW YORK, NY 10007-89
2209633
09/28/1988
2

BROWN, JR.
STEVEN RAYMOND
157 E 86th St FL 5
New York, NY 10028-2113
5503206
03/20/2017
1

BRYAN
SHERICA RENE
DEL MONTE FRESH PRODUCE
241 SEVILLA AVE
CORAL GABLES, FL 33134-6622
4941803
05/18/2011
1

BUECHEL
MARY ANNE EMA
VIACOM INC
1515 BROADWAY FL 50
NEW YORK, NY 10036-8901
4541082
10/16/2007
1

BUFFA
DAVID GASPER
BRESSLER AMERY &amp; ROSS, PC
17 STATE ST FL 34
NEW YORK, NY 10004-1594
4968822
12/07/2011
2

BUI
NGOC QUANG HUY
Wilson Sonsini Goodrich &amp; Rosati, PC
650 Page Mill Rd
Palo Alto, CA 94304-1001
5457486
09/12/2016
1

BUNTING, II
GERALD ARTHUR
Bunting &amp; Associates PC
429 E 64TH ST APT 6A
NEW YORK, NY 10065-7596
2609113
09/14/1994
2

BURMEISTER
WILLIAM LEWIS
Citi
388 Greenwich St
New York, NY 10013-2375
1848118
06/02/1982
2

BURNHAM
WILLIAM CHARLES
Nicoletti Hornig &amp; Sweeney
88 Pine St
New York, NY 10005-1801
5546262
08/17/2017
3

BURNS
JACOB JONAH KEELER
Bridgewater Associates
1 Glendinning Pl
Westport, CT 6880-1242
5178082
10/07/2013
1

BURRELL
ANDRE KWAME
Microsoft Corp
1 Microsoft Way
Redmond, WA 98052-8300
2924744
10/26/1998
1

BURZIN
BETH ELLEN
No Business Address
4837696
08/04/2010
2

BUSTARD
R DAVID
WILLIAMS PARKER HARRISON DIETZ &amp; GETZEN
200 SOUTH ORANGE AVE
SARASOTA, FL 34236
1671650
04/07/1980
1

BUTLER
BEVIN A.
CADE DIVERSIFIED ATELIER LLC
28 E 10TH ST # PH12H
NEW YORK, NY 10003-6201
4851069
11/17/2010
2

BUZANICH
HERBERT 
AIGNER BUZANICH RECHTSANWALTE OG
MARIAHILFER STRASSE 47/3/5
VIENNA, A-1060, AUSTRIA
4391942
02/27/2006
1

BYRNES
KAREN 
8 PETER COOPER RD
NEW YORK, NY 10010-6711
3983962
07/02/2001
1

CABANGON
JED VAN
Citi
388 Greenwich St
New York, NY 10013-2362
4461042
05/02/2007
2

CADOGAN
JAMES ANTHONY
Arnold Ventures
1776 I St NW Ste 850
Washington, DC 20006-3764
4536355
09/25/2007
1

CAINS
FREDERICK 
430 E 86TH ST
NEW YORK, NY 10028-6441
1389915
03/30/1970
2

CALDWELL
ZACHARY RICHARD
C/O LAZARD
30 ROCKEFELLER PLZ FL 55
NEW YORK, NY 10112-5499
5113154
01/24/2013
3

CALIGUIRI
MICHAEL 
BADER YAKAITIS &amp; NONNENMACHER LLP
1430 BROADWAY STE 1802
NEW YORK, NY 10018-3308
2283232
04/30/1980
2

CALKINS
MARY LYNNE
No Business Address
2989002
07/12/1999
1

CAMCHI
RAN 
SKADDEN ARPS SLATE MEAGHER &amp; FLOM LLP
4 TIMES SQ
NEW YORK, NY 10036-6518
5605712
04/25/2018
3

CAMERON
MICHAEL GARNET
NEWS AMERICA
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8701
4367496
12/06/2005
1

CAMPBELL
ALAN R.
No Business Address
5443338
06/06/2016
1

CAMPBELL
BRANDON EUGENE
Campbell's Creative Counsel P.C.
54 W 40th St
New York, NY 10018-2602
5363593
06/24/2015
3

CANAVAGGIO
DONALD PATRICK
ARIAS, FABREGA &amp; FABREGA
ARIFA BLDG, 10TH FL, WEST BLVD.
SANTA MARIA BUSINESS DISTRICT
P.O. BOX 0816-01098, PANAMA
5220017
03/17/2014
1

CANCELLIERI
ROBERT LOUIS
ALBERT EINSTEIN COLLEGE OF MEDICINE
1300 MORRIS PARK AVE
BRONX, NY 10461-1900
4664348
02/04/2009
2

CANNADY
HEATHER LYNN
Brown Rudnick LLP
7 Times Square
47th Floor
New York, NY 10036
4569661
02/28/2008
3

CANNON
LISTA MAKIMSON
NORTON ROSE FULBRIGHT LLP
3 MORE LONDON RIVERSIDE
LONDON SE1 2AQ, ENGLAND
1628080
10/05/1976
1

CANTO
CHRISTINA KEARNEY PEREZ
OFFICE OF THE BRONX DISTRICT ATTORNEY
198 E 161ST ST
BRONX, NY 10451-3536
5452271
06/22/2016
3

CARDINAL
ALLISON NICOLE
RSK Compliance Solutions
646 State Route 18
East Brunswick, NJ 8816-3722
4977617
11/21/2011
1

CARDWELL
KALOMA NKOSI
DAVIS POLK &amp; WARDWELL LLP
450 LEXINGTON AVE
NEW YORK, NY 10017-3904
5454830
06/22/2016
3

CARGO
SHANE PATRICK
No Business Address
4140877
05/08/2003
1

CARTER
PETER MICHAEL
FEDERAL PUBLIC DEFENDER DISTRICT OF NEW JERSEY
1002 Broad St
Newark, NJ 7102-2503
2366318
09/18/1990
1

CASELLA
CECILIA 
No Business Address
2848562
10/21/1997
3

CASERTA
CARMEN 
No Business Address
5690128
03/18/2019
1

CASSIDY
MICHAEL GERARD
PO Box 7301
New York, NY 10116-7301
5292032
10/20/2014
1

CEDERQUIST
JENNIFER SUNG-AE
Western Litigation
1900 West Loop S Ste 1500
Houston, TX 77027-3223
4938221
05/04/2011
1

CENSOR
MARTIN A.
AICPA
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8701
2348555
09/26/1990
2

CENTENO
MINERVA I.
MINERVA I. CENTENO, ESQ.
PO Box 360908
San Juan, PR 936-908
2693646
06/19/1995
1

CHAE-BANKS
YUNHUI 
QUALCOMM INCORPORATED
5775 Morehouse Dr
San Diego, CA 92121-1714
2839892
08/04/1997
1

CHALANDON
PHILIPPE P.
RICHEMONT INTERNATIONAL SA.
50 CHEMIN DE LA CHENAIE
1293 BELLEVUE, SWITZERLAND
2370377
10/29/1990
1

CHANDLER
WILLIAM WOOD
UBS SECURITIES LLC
600 Washington Blvd
Stamford, CT 6901-3726
1981364
03/25/1985
1

CHANYUNGCO
CALEEN TANABE
SUMMIT LEARNING CENTER
UNIT B5, SECOND FLOOR, LUISA 2 BUILDING
107 MAGINHAWA STREET, TEACHER'S VILLAGE
DILIMAN, QUEZON CITY METRO MANILA 1101, PHILIPPINES
5072855
09/10/2012
1

CHASE
BARRY EUGENE
CHASE LAW OFFICE
14521 NEWTON ST
OVERLAND PARK, KS 66223-1126
2979458
05/24/1999
1

CHASE
IN YOUNG 
MORGAN STANLEY
1585 BROADWAY FL 2ND
NEW YORK, NY 10036-8200
2984540
11/17/1999
2

CHATTERJEE
ARNAB 
POINT72 ASSET MANAGEMENT
510 MADISON AVE
NEW YORK, NY 10022-5730
5715628
05/29/2019
3

CHEN
JIE 
JunHe LLP
20TH FLR., CHINA RESOURCES BLDG.
8 JIANGUOMENBEI AVE.
BEIJING 100005, CHINA
4335626
06/20/2005
1

CHEN
XIAOBO 
DEBEVOISE &amp; PLIMPTON LLP
919 3rd Ave
New York, NY 10022-3902
5207147
01/23/2014
3

CHILDS
LOUISA B.
DWIGHT SCHOOL
291 CENTRAL PARK W
NEW YORK, NY 10024[*7]-3042
4459806
12/05/2006
1

CHOCK
BRANDON KYLE
JEFFER MANGELS BUTLER MITCHELL LLP
1900 AVENUE OF THE STARS FL 7
LOS ANGELES, CA 90067-4308
4525945
07/24/2007
1

CHOE
JENNIFER 
Hercules Capital, Inc.
31 Saint James Ave Ste 730
Boston, MA 2116-4137
4629077
07/29/2008
1

CHOI
JACQUELINE 
Bergen County Prosecutor's Office
2 Bergen County Plz
Hackensack, NJ 7601-7076
4842076
06/28/2010
1

CHUANG
SUSAN 
183 Duane St
New York, NY 10013-3261
4264362
01/12/2005
2

CHUNG
HYE WON
ALIGN
50 Broadway FL 29
New York, NY 10004-1696
5083183
08/14/2013
2

CLARK
LISA ANNE
No Business Address
1886696
07/18/1983
1

CLARK
RON WILLIAM
AIRD &amp; BERLIS LLP
BROOKFIELD PLACE
181 BAY STREET, SUITE 1800
TORONTO, ONT. M5J 2T9, CANADA
2265205
04/17/1989
1

CLARKE
ANDREW CAMPBELL
ORIGIN ENERGY LIMITED
GPO BOX 5376
SYDNEY NSW 2001, AUSTRALIA
2149425
08/24/1987
1

CLARKE
SHANNON DENIECE ASHLEY
817 Broadway FL 5
New York, NY 10003-4709
5258199
06/02/2014
1

COEN
MAUREEN R.
CREDIT SUISSE FIRST BOSTON
11 MADISON AVE
NEW YORK, NY 10010-3643
2185676
02/24/1988
2

COFFEE
BRETT BLAIR
AETOS CORP.
5765F BURKE CENTRE PKWY #227
BURKE, VA 22015
2806784
02/03/1997
1

COHEN
AMY BETH
No Business Address
4910121
02/09/2011
1

COHEN
ANDREW BECKER
Baker McKenzie
452 5th Ave
New York, NY 10018-2706
5727623
09/09/2019
1

COHEN
ARNOLD STEVEN
THE PARTNERSHIP FOR THE HOMELESS
305 7TH AVE
NEW YORK, NY 10001-6008
1573526
02/14/1979
2

COHEN
BENEDICT SIMMS
THE BOEING COMPANY
929 Long Bridge Dr
Arlington, VA 22202-4208
1986652
05/06/1985
1

COHEN
JAMES ALAN
PROFESSOR JAMES A COHEN FORDHAM UNIVERSITY SCHOOL OF LAW
150 W 62ND ST FL 9
NEW YORK, NY 10023-7407
1344787
02/16/1977
2

COHEN
JESSICA SYDNEY
Walmart
221 River St 8th floor
Hoboken, NJ 7030
5676440
01/14/2019
1

COHEN
RACHEL 
422 Broadway FL 2
New York, NY 10013
5086327
01/16/2013
2

COHEN
RICHARD A.
RICHARD COHEN
8101 SAN FELIPE BLVD UNIT 305
AUSTIN, TX 78729-7504
1921709
04/16/1984
1

COLE
JONATHAN HOWLAND
Soltage
66 York St FL 5
Jersey City, NJ 7302-3838
4021549
12/17/2001
1

COLE
STEVEN EDWARD
No Business Address
2599058
01/25/1994
3

COLL
PATRICIA WEISS
No Business Address
1793728
04/12/1982
1

COLLINS
NOREEN 
Noreen Collins, Esq.
121 Newark Ave
Ste. 549
Jersey City, NJ 7302
4200903
01/20/2004
1

COMAS
WALDEMAR ANTONIO
No Business Address
1436716
02/24/1976
1

COMPAGNON
MARGAUX 
FISCHER TANDEAU DE MARSAC SUR &amp; ASSOCIES
67 BOULEVARD MALESHERBES
75008 PARIS, FRANCE
5540109
07/17/2017
1

CONCEPCION
CRONDER NICOLAS
No Business Address
4964557
09/19/2011
1

CONNOLLY
ROBERT P.
No Business Address
2506939
03/01/1982
1

COOK
MICHELE C.
No Business Address
4032066
02/04/2002
1

COOPERSMITH
ALANNA DEBRA
717 WASHINGTON ST
OAKLAND, CA 94607-3568
4100962
12/10/2002
1

COREY
LARA GLASGOW
Smudge Wellness
440 Goodhill Rd
Kentfield, CA 94904-2614
4092516
11/13/2002
1

CORONEL ORTEGA
CESAR LEONIDAS
THREE CROWNS LLP
New Fetter Place
8-10 New Fetter Lane
London EC4A 1AZ, UNITED KINGDOM
5290051
10/20/2014
1

CORRADO
MARIE ANGELA
NATIONAL [*8]RAIL PASSENGER CORPORATION (AMTRAK)
400 W 31ST ST FL 5
NEW YORK, NY 10001-4606
1880236
06/20/1983
3

COSTELLO
ANDREW PETER TIMOTHY
No Business Address
4622205
07/22/2008
3

COX
RYAN TROY
MARTIN, CLEARWATER &amp; BELL, LLP
220 E 42ND ST
NEW YORK, NY 10017-5806
4660387
02/25/2009
2

COYLE
KENNETH PATRICK
No Business Address
5703780
08/07/2019
2

CRAIG
BENJAMIN MARK
350 E 82nd St Apt 15a
New York, NY 10028-4917
4554911
06/18/2008
2

CRAVENS
ROBERT ALEXANDER
No Business Address
2432698
08/12/1991
1

CRAWFORD
AMY LENOX
The Bronx Defenders
360 E 161st St
Bronx, NY 10451-4142
4079729
09/10/2002
1

CROCKETT
LERESSA RENNA
LERESSA CROCKETT ATTORNEY AT LAW LLC
76 S ORANGE AVE STE 103
SOUTH ORANGE, NJ 7079-1923
2813368
03/10/1997
1

CRUZ
INGRID 
Ingrid Cruz Diaz, Attorney at Law, LLC
236 Richland Dr E
Mandeville, LA 70448-6329
4459160
12/05/2006
1

CUI
YU 
Clifford Chance LLP
288 Shi Men Yi Road
Shanghai, CHINA
4758074
10/20/2009
1

CURLEY
ERIN JEAN
Dartmouth-Hitchcock Medical Center
1 Medical Center Dr
Lebanon, NH 3756-1000
4871679
11/22/2010
1

CURRAN
PAMELA A.
MESSERLI &amp; KRAMER, P.A.
100 S. 5TH ST STE 1400
MINNEAPOLIS, MN 55402-1217
2369866
08/06/1990
1

CUSUMANO
BARBARA VITA
Littler Mendelson P.C.
1150 17th St NW Ste 900
Washington, DC 20036-4655
4740460
07/13/2009
1

CUTOLO
HUBERT CHARLES
CUTOLO BARROS LLC
4650 THROCKMORTON ST
FREEHOLD, NJ 7728
4451837
11/20/2006
1

DALMAU
CARLOS G.
LA ELECTRONICA BLDG
1608 BORI ST, STE 329
SAN JUAN, PR 927
2922383
11/04/1998
1

DAVIDSON
JENNIFER BETH
POWER TO FLY
100 CROSBY ST STE 308
NEW YORK, NY 10012-4717
5578463
01/22/2018
1

DAVIS
LAURA DIAMOND
NEW YORK LEGAL ASSISTANCE GROUP
100 PEARL ST FL 19
NEW YORK, NY 10004
2432284
08/12/1991
1

DAYAN
DAVID 
California Institute of Technology
1200 E California Blvd
Pasadena, CA 91125-1
2637841
09/19/1994
1

DE BRAGANCA
KATHYA NADINE
No Business Address
5717954
06/24/2019
1

DE FINA
DEBORAH MARGARET
CompliSpace
Level 4
179 Elizabeth Street
SYDNEY NSW 2000, AUSTRALIA
2607950
02/28/1994
1

DE PASQUALE
MEGAN 
No Business Address
4502126
04/23/2007
1

DE VILLIERS
SAMUEL BENJAMIN CHARLES
No Business Address
5043344
06/11/2012
1

DEAN
JEFFREY CHARLES
No Business Address
5644653
09/17/2018
1

DEBATE
RONALD ALVIN
JP MORGAN CHASE BANK
25 BANK STREET 22 FLOOR
CANARY WHARF
LONDON E14 5JP, ENGLAND
1123603
01/30/1978
1

DEBEAUFORT
HECTOR WL
CLIFFORD CHANCE LLP
P.O. BOX 251
1000 AG AMSTERDAM, NETHERLANDS
1931294
07/09/1984
1

DEGUZMAN
EMILIANO T.
EMIL DEGUZMAN &amp; ASSOCIATES
325 BROADWAY FL 2ND, STE 200
NEW YORK, NY 10007-1187
1862283
07/14/1981
3

DEJOY
ROBERT WILLIAM
BAKER &amp; MCKENZIE LLP
452 5th Ave FL 17
New York, NY 10018-2706
1956424
02/18/1981
4

DEMENTO
CRISTINA WESCHLER
NEAL, GERBER &amp; EISENBERG LLP
2 N LA Salle St Ste 1700
Chicago, IL 60602-4000
4356671
10/25/2005
1

DESTRO
JACOPO 
Redstone Digital
Rosenthaler strasse 2
Berlin 10119, GERMANY
5525944
06/19/2017
1

DEWSBURY
IAN MICHAEL
No Business Address
5622782
05/14/2018
1

DI NARDO
THOMAS DAVID
Dinar LLC
24 [*9]Dockside Ln # 377
Key Largo, FL 33037-5267
2859965
11/24/1997
1

DIAMOND
S. LYNN
Shearman &amp; Sterling LLP
599 Lexington Avenue
New York, NY 10022
4555546
12/10/2007
1

DIEFENBACH, III
JAMES CUMMINS
Diefenbach Law Group
1732 1st Ave # 22173
New York, NY 10128-5177
5382247
09/24/2015
3

DIETZGEN
CHARLES ANTOINE
NIXON PEABODY LLP
55 W 46th St
New York, NY 10036-4276
1378934
04/19/1978
2

DILLUVIO
MATTHEW JOHN
SIDLEY AUSTIN LLP
2021 McKinney Ave Ste 2000
Dallas, TX 75201-3351
5359617
07/13/2015
1

DIMITRY
EILEEN 
415 NEWARK ST STE 7D
HOBOKEN, NJ 7030-8416
4089108
10/28/2002
1

DOBKIN SACHER
JILL 
MORGAN STANLEY
1585 BROADWAY
NEW YORK, NY 10036-8200
2475341
03/23/1992
1

DOCS
DEBORAH ANN
No Business Address
2443562
11/25/1991
1

DOHERTY
ALAN MARTIN
ALAN MARTIN DOHERTY/BARRISTER LAW LIBRARY
145/151 CHURCH ST
DUBLIN, IRELAND
2705390
09/12/1995
1

DONNELLY
BRIAN PHILIP
FARELLA BRAUN &amp; MARTEL
235 MONTGOMERY ST
SAN FRANCISCO, CA 94104
2461002
03/02/1992
1

DORE
MICHAEL 
LOWENSTEIN SANDLER LLP
1 LOWENSTEIN DR
ROSELAND, NJ 7068-1740
1180199
03/29/1976
1

DORENKAMP
CHRISTIAN PHIL
DEUTSCHE TELEKOM AG
FRIEDRICH-EBERT-ALLEE 140
53113 BONN, GERMANY
4235545
05/10/2004
1

DOSMAN
E. ALEXANDRA
Trade Law Bureau
125 Sussex Drive
Ottawa, CANADA
4451712
11/20/2006
1

DOVRAT
KEREN 
Keren Avidar
6 Haprachim,
Apartment 12
RAMAT HASHARON, ISRAEL
4290359
01/10/2005
1

DOYLE
MARY ANN
No Business Address
2208221
06/13/1988
1

DRAY
LAURA LEHMAN
Lubell &amp; Rosen, LLC
1 Alhambra Plz Ste 1410
Coral Gables, FL 33134-5247
2711638
11/14/1995
1

DUBEY
SHOSHANA 
No Business Address
4617148
07/22/2008
3

DUENO
DAVID DWIGHT
Gozdecki, Del Giudice
One East Wacker
Chicago, IL 60601
2986610
06/29/1999
1

DULBERG
ADAM LAWRENCE
455 S RECKER RD #1018
GILBERT, AZ 85296
5262050
06/23/2014
1

DUNN, JR
DANIEL MARTIN
DECHERT LLP
1095 AVENUE OF THE AMERICAS FL 29
NEW YORK, NY 10036-6797
2529089
06/09/1993
2

DUNNE
ROBERT DECLAN
LAW OFFICE OF ROBERT DUNNE, LLC
230 Park Ave FL 3
New York, NY 10169-1001
4087144
11/26/2002
3

DUPONT
NATASHA 
Kaiser Permanente
1800 Harrison St FL 9
Oakland, CA 94612-3466
2854404
11/18/1997
1

DYCE
JAMIE RACHAEL
Pajama Program
114 E 39th St
New York, NY 10016-958
4392916
02/27/2006
1

EARDLEY
FRANCES 
HATCH PTY LTD
THE BARRACKS
61 PETRIE TERRACE
BRISBANE QLD 4000, AUSTRALIA
4743852
07/21/2009
1

EBERLE
INGRID ANN
No Business Address
2973071
05/03/1999
1

EDDS
ELIZABETH ANN
CALVARY HOSPITAL
1740 EASTCHESTER RD
BRONX, NY 10461-2392
2277838
06/05/1989
1

EDELMAN
SAGIV 
Securities and Exchange Commission
801 Brickell Ave Ste 1800
Miami, FL 33131-4901
5236393
07/14/2014
1

EDMONDSON
KERRIE KATRINE
Winston &amp; Strawn
200 Park Ave FL 45
New York, NY 10166-5
5716634
06/03/2019
1

EDWARDS
NORDIA 
Spencer Stuart
277 Park Ave FL 32
New York, NY 10017
4576245
02/04/2008
1

EDWARDS FRAMPTON
CHRISTOPHER 
WHITE &amp; CASE
1221 Avenue of The Americas
New York, NY 10020-1001
2282697
06/19/1989
1

EFRONI
ZOHAR 
eLaw Legel Consulting
Flora Str. 31
Berlin
Berlin 13187, GERMANY[*10]
4264867
10/25/2004
1

EHRLICH
HANNA EMMANUELLE
FOX RODNEY SEARCH
16 COURS ALBERT 1ER
75008 PARIS, FRANCE
4943395
05/17/2011
1

EISENMAN
NICOLE SASHA
Sullivan &amp; Cromwell LLP
125 Broad St Rm 4006c
New York, NY 10004-2400
4896148
03/30/2011
2

EKMAN
GERSHON 
JP MORGAN CHASE LEGAL DEPT
4 New York Plz FL 21
New York, NY 10004-2413
1909860
03/05/1984
1

EL RHERMOUL
HASNAA 
Torys LLP
1114 Avenue of The Americas FL 23
New York, NY 10036-7703
5697974
04/22/2019
1

ENAV
ORIE 
DRAGON FRUIT, INC.
85 BROAD ST 18TH FL
NEW YORK, NY 10004
5635461
07/18/2018
3

ENG
JANE T.
JANE T ENG ESQ
268 CANAL ST FL 6TH
NEW YORK, NY 10013-3599
1821065
03/07/1975
4

ENGLUND
ALYSSA 
No Business Address
4057840
05/07/2002
1

ENGSTROM
KATRENA KERST
JOHN R. WILLIAMS &amp; ASSOCIATES, LLC
51 ELM ST STE 409
NEW HAVEN, CT 6510-2049
2342533
10/06/1975
1

ENRIQUEZ
J. DAVID
Office of the Comptroller of New York City
1 Centre Street
8th Floor, North
NEW YORK, NY 10007
4062741
06/10/2002
1

ERICHSON
HOWARD MARK
FORDHAM LAW SCHOOL
150 W 62ND ST
NEW YORK, NY 10023-7407
2391803
01/22/1991
3

ERRANTE
STACY MARIE
NelsonVotto
18 Trumbull St
New Haven, CT 6511-6301
4311510
03/29/2005
1

ESPO
DANIEL 
NEW YORK LEGAL ASSISTANCE GROUP
100 PEARL ST FL 19
NEW YORK, NY 10004
5706437
05/13/2019
1

ESTRADA
CHRISTOPHER ANTHONY
Lewis Brisbois Bisgaard &amp; Smith LLP
77 Water St Ste 2100
New York, NY 10005-4401
5630298
07/16/2018
1

ESTRADA
MARTIN MIQUEL
Mayer Brown LLP
1221 Avenue of The Americas
New York, NY 10020-1001
5680939
02/25/2019
1

EWING
GABRIEL MARTIN DESMOND
Marsh Ltd
Tower Place East
London N5 1PT, UNITED KINGDOM
4342838
07/27/2005
1

EWING
KEITH F.
MITSUI &amp; CO. (USA) INC., OFFICE OF THE CHIEF COMPLIANCE OFFICER
200 PARK AVE
NEW YORK, NY 10166-5
1217041
05/02/1979
2

FAHEY
CAITLIN CLARK
No Business Address
5529821
06/19/2017
1

FALLON
JONATHAN 
HIGH 5 GAMES, LLC
1 WORLD TRADE CENTER FL 59
NEW YORK, NY 10007-102
5717046
06/03/2019
1

FAN
XIQIN 
GE Renewable Energy
Room 5105, CTP 2, No. 1 Hua Tuo Road
SHANGHAI 201203, CHINA
4866000
09/14/2010
1

FARBENBLUM
BASSINA 
UNSW LAW
UNSW
SYDNEY NSW 2052, AUSTRALIA
4424768
06/20/2006
1

FARREN
LINDA O'SHEA
O'SHEA FARREN
FITZROY HOUSE
37, RAGLAN RD, BALLSBRIDGDE,
DUBLIN 4, IRELAND
2058360
04/14/1986
1

FEIGENBERG KREIMER
SHANI 
TRIPLAY INC
215 LEXINGTON AVE
NEW YORK, NY 10016-6023
5607320
06/27/2018
3

FEINBERG
LINDSAY NICELY
NEW YORK STATE SUPREME COURT NEW YORK COUNTY
71 THOMAS ST RM 305
NEW YORK, NY 10013-3821
1932631
06/20/1984
2

FEINMAN
RACHEL MARKS
522 N HOWARD AVE
TAMPA, FL 33606
4335451
06/20/2005
1

FELDMAN
REMY E.
SUSTAINABLE INDULGENCE, LLC
480 Barnum Ave Ste 15
Bridgeport, CT 6608-2460
5349634
05/11/2015
1

FELIZ
OSWALD J.
BRONX LEGAL SERVICES
349 E 149TH ST, 10TH FL
BRONX, NY 10451-5603
5588397
09/17/2018
1

FELLINGER
JOHN GREGORY
LAW OFFICES OF JOHN G. FELLINGER
110 E 59TH ST FL 23RD
NEW YORK, NY 10022-1304
2019149
05/04/1981
1

FELTZ
MONICA LAURE
ROBERT HALF LEGAL
125 PARK AVE
NEW YORK, NY 10017-5529
5081559
04/10/2013
[*11]2

FERRARO
EDWARD JAY
PO BOX 4881
NEW YORK, NY 10185-4881
2919447
09/24/1998
1

FERRARO-MILA
PABLO FERNANDO
Gonzalez &amp; Ferraro Mila
Palacio Bellini
Juan Maria Gutierrez 3765, 4th Floor
Buenos Aires - C1425ARA, ARGENTINA
2819696
04/14/1997
1

FERTIG
JIE 
No Business Address
4066973
07/01/2002
1

FIEDLER
MORGAN ANNE
Axiom
295 Lafayette St Ste 700
New York, NY 10012-2722
4894804
01/20/2011
3

FINKEL
ARIANE GOLDBERG
WACHTELL, LIPTON, ROSEN &amp; KATZ
51 W 52ND ST
NEW YORK, NY 10019-6119
4647327
11/24/2008
1

FINLEY
KYUNG MOON
No Business Address
4232740
05/10/2004
1

FINNEGAN
JAMES JAY
AEW CAPITAL MANAGEMENT, L.P.
2 SEAPORT LN 15TH FL.
BOSTON, MA 2210-2001
2056109
03/24/1986
1

FINNEY
KRISTEN DICKINSON
TWENTIETH CENTURY FOX
2121 AVENUE OF THE STARS STE 1920
LOS ANGELES, CA 90067-5010
2923951
10/26/1998
1

FISCHER
ALEX 
Baraona Fischer Spiess Ltda.
Av. Costanera Sur 2730, 12th floor
Las Condes
SANTIAGO, CHILE
4087466
10/28/2002
1

FISHER
DEANNA 
DEANNA FISHER
200 CENTRAL PK S STE 3K
NEW YORK, NY 10019-1436
2346310
05/07/1990
1

FISHER
MARC RUSSELL
Katz, Goldstein &amp; Warren
2345 Waukegan Rd Ste 150
Bannockburn, IL 60015-1552
4321915
05/09/2005
1

FLICKER
ROBIN SUE
111 E 85TH ST STE 27D
NEW YORK, NY 10028-958
2764298
09/25/1996
2

FLYNN
TARA KATHLEEN
ROYSTONE CAPITAL MANAGEMENT LP
780 3rd Ave FL 41
New York, NY 10017-2024
4251559
07/26/2004
1

FOHRER
DAVID 
No Business Address
4365656
12/05/2005
1

FORSTOT
JONATHAN D.
TROUTMAN SANDERS LLP
875 3RD AVE
NEW YORK, NY 10022-6225
2257095
03/06/1989
1

FRACASSO
ROBERT G.
SHUTTS &amp; BOWEN
200 S BISCAYNE BLVD STE 4100
MIAMI, FL 33131
1806777
05/24/1982
1

FRANK
BARRY A.
SOS SECURITY INCORPORATED
PO BOX 6373
1915 ROUTE 46 E
PARSIPPANY, NJ 7054-7373
1210806
03/15/1976
1

FREEMAN
KATHRYN ELIZABETH
RTTB TECHNOLOGY
136 Madison Ave Ste 500
New York, NY 10016-6711
4758041
10/26/2009
1

FREY
JACLYN M.
NEW JERSEY OFFICE OF THE STATE COMPTROLLER
PO BOX 24
20 WEST STATE STREET
TRENTON, NJ 8625-24
4589214
03/31/2008
1

FRIEDMAN
ANDREA DENISE
AF ADVOCACY
1404 W. FOSTER #3
CHICAGO, IL 60640
4408464
04/24/2006
1

FRIEDMAN
ANDREW DAVID
Law Offices Of Andrew Friedman LLP
445 Park Ave
Ninth Floor
New York, NY 10022-2606
2071249
06/02/1986
1

FRIEDMAN
JASON WARD
Russell Reynolds Associates
277 Park Ave Ste 3800
New York, NY 10172-3
4503017
04/23/2007
1

FRIEDMAN
YANIV 
No Business Address
4582458
02/26/2008
1

FUSCO
DINO 
GOLDMAN, SACHS &amp; CO.
30 HUDSON ST FL 19TH
JERSEY CITY, NJ 7302-4699
2465540
02/03/1992
1

FUSSA
GLENDA LUZ
U.S. DEPARTMENT OF HOUSING &amp; URBAN DEVELOPMENT
OFFICE OF GENERAL COUNSEL
26 FEDERAL PLAZA RM 32-102
NEW YORK, NY 10278
2200301
06/01/1988
2

GALICIA
MELISSA ANNE
26 Federal Plz
New York, NY 10278-4
4680021
02/02/2009
1

GAMBILL
GREGORY JOSEPH
ROPES &amp; GRAY LLP
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8701
5597349
07/18/2018
3

GANAPATHY
TARA 
Debevoise &amp; Plimpton LLP
801 Pennsylvania Ave. NW
Suite 500
Washington, DC 20004
5527635
06/19/2017
1

GANDLER
ROBERT GEOFFREY
No Business Address[*12]
4507646
10/17/2007
2

GARCIA
SANDRA URSULA
U.S. DEPARTMENT OF THE TREASURY
1500 Pennsylvania Ave NW
Washington, DC 20220-1
4930699
05/18/2011
1

GARCIA BARRAGAN LOPEZ
DANIEL 
No Business Address
5740337
11/18/2019
1

GARDINER
KAY K.
No Business Address
2006419
06/17/1985
1

GARDNER
ALAN PETER
BENNETT JONES LLP
1 FIRST CANADIAN PL SUITE 3400
PO BOX 130
TORONTO ON M5X 1A4, CANADA
4172755
10/09/2003
1

GELLER
HANNAH ALICE KAVNER
No Business Address
5455886
06/27/2016
1

GERONIMO
ISY-INDIA 
California Western School of Law
225 Cedar Street
San Diego, CA 92101
4623260
07/17/2008
1

GERTLER
JORDAN MICHAEL
EXCEL SPORTS MANAGEMENT
1700 Broadway FL 29
New York, NY 10019-6559
5384581
02/08/2016
1

GERVOLINO
DOUGLAS JOSEPH
INTL FC Stone
530 5th Ave
New York, NY 10036-5101
4556577
01/30/2008
3

GETTINGER
DONALD ISRAEL
ASPIRIANT
11100 Santa Monica Blvd Ste 600
Los Angeles, CA 90025-3328
1636901
08/23/1979
1

GHALAMBOR
SHAHAB D.
Law Office of Shahab D. Ghalambor
1700 Broadway FL 21
New York, NY 10019-5905
4673505
01/12/2009
1

GHOST
VICTORIA HELEN
INTEL CORPORATION
104 W 40th St
New York, NY 10018-3617
4500344
04/19/2007
3

GIACOMO, JR.
PAUL J.
Law Offices of Paul J. Giacomo
215 W 95th St Unit 11m
New York, NY 10025-6331
1508464
02/28/1979
2

GIAMBALVO
ROSANNE ELIZABETH
Ankura Consulting
485 Lexington Ave
New York, NY 10017-2630
2515229
01/13/1993
2

GIBSON
BRIAN NEWTON
No Business Address
4003307
10/29/2001
1

GIBSON
ROBERTHA PEYTON
THE GIBSON LAW FIRM
380 LEXINGTON AVE FL 17TH
NEW YORK, NY 10168-2
1541424
03/29/1976
1

GILBRIDE
SEAN ROBERT
Goldman Sachs
200 West St
New York, NY 10282-2102
4159091
07/18/2003
1

GILL
NAVJOT KAUR
No Business Address
4512067
06/26/2007
3

GILLEN
CARL GERARD
No Business Address
4312005
04/04/2005
1

GLASSMAN
FREDRIC D.
FIDELITY NATIONAL TITLE INSURANCE COMPANY
485 Lexington Ave FL 18
New York, NY 10017-2634
4394797
02/27/2006
1

GLATT
DAVID SAMUEL
MEITAR LIQUORNIK GEVA LESHEM TAL
16 ABBA HILLEL SILVER RD.
RAMAT GAN 52506, ISRAEL
2640555
10/17/1994
1

GOLDBERG
ROBERT SCOTT
MAYER BROWN LLP
700 LOUISIANA ST
HOUSTON, TX 77002
2922623
10/26/1998
1

GOLDEN
DAVID SCOTT
VEDDER PRICE P.C.
1633 BROADWAY
NEW YORK, NY 10019-6708
5630967
06/18/2018
1

GOLDENBERG
JESSICA LAUREN
Warner Music Group
1633 Broadway FL 8
New York, NY 10019-7637
5122064
03/18/2013
1

GOLDIN-CHILL
AVIYA 
No Business Address
4266300
10/25/2004
1

GOLDMAN
DAVID 
PARAMOUNT
5555 MELROSE AVE
LOS ANGELES, CA 90038-3989
2493450
06/22/1992
1

GOLDMAN
LOUIS BUDWIG
No Business Address
1347707
10/05/1976
1

GOLDSTEIN
DAVID ADAM
DLA PIPER LLP (US)
1251 AVENUE OF THE AMERICAS FL 24
NEW YORK, NY 10020-1104
2630101
07/18/1994
1

GOLDSTEIN
JORDAN MARC
Dayglo Management LLC
104 W 29th St FL 11
New York, NY 10001-5310
2706380
01/10/1996
2

GONSON
ELISE DAWN
Nicoletti, Gonson&amp; Spinner
555 5th Ave
New York, NY 10017-2416
2096550
02/04/1987
2

Gonzalez
JORGE ARTURO
SERVICIOS LEGALES JAG Y SOCIOS SC
CALZADA DEL VALLE 400 INT
107 COLONIA DEL VALLE
SAN PEDRO GARZA [*13]GARCIA NUEVO LEON 66220, MEXICO
5465208
09/12/2016
1

Gonzalez
VANESSA 
Bank of America Merrill Lynch
50 Rockefeller Plaza
NY1-050-07-02
NEW YORK, NY 10020
4471223
01/04/2007
1

GORSUCH
KENNETH MICHAEL
Rialto Mortgage Finance, LLC
600 Madison Ave FL 12
New York, NY 10022-1681
4077517
11/20/2002
2

GOURDINE
PETER CHRISTOPHER
No Business Address
4752069
09/21/2009
1

GRABER
JACQUELINE 
315 BROADWAY FL 3F
NEW YORK, NY 10007-1159
2648020
03/01/1995
2

GRABNAR
ANA 
LAW FIRM ROJS, PELJHAN, PRELESNIK &amp; PARTNERS
48 TIVOLSKA CESTA
LJUBLJANA 1000, SLOVENIA
5386644
11/23/2015
1

GRAHAM
CHRISTOPHER PAUL
No Business Address
3997913
10/15/2001
1

GRAHAM
DONALD DUNCAN
MENTAL HYGIENE LEGAL SERVICE (FIRST DEPT) MANHATTAN PSYCHIATRIC CENTER
600 E 125TH ST
NEW YORK, NY 10035-6000
3065067
11/15/2000
2

GRAHAM
LAWRENCE SCOTT
Celgene Corporation
10300 Campus Point Dr Ste 100
San Diego, CA 92121-1504
3067113
07/24/2000
1

GRAHAM
PATRICIA MOIRA
HERRICK FEINSTEIN LLP
2 PARK AVE
NEW YORK, NY 10016-5675
2206282
06/29/1988
2

GRAHAM
THOMAS J.
257 CENTRAL PARK W STE 8A
NEW YORK, NY 10024-4103
2098879
11/24/1986
1

GREEN
ADAM JULIEN
MANNHEIMER SWARTLING
NORRLANDSGATAN 21
BOX 1711 SE 11187
STOCKHOLM, SWEDEN
2804995
02/03/1997
1

GREEN
MARIA NICOLE
Raoul Wallenberg Institute for Human Rights and Humanitarian Law
Box 1155
Lund 22105, SWEDEN
2947257
01/11/1999
1

GREEN-RAUENHORST
MARGARET 
No Business Address
2355410
06/04/1990
1

GRIEVE
MARGARET MARY
PMG Management
8477 Bay Colony Dr
Naples, FL 34108-740
1218684
03/19/1979
1

GRINSHTAIN
ILAN 
ISRAEL AEROSPACE INDUSTRIES LTD
BEN GURION INTERNATIONAL AIRPORT
70100, ISRAEL
5177795
09/16/2013
1

GRISET
EMILY DORINE
CITI PRIVATE BANK
111 HUNTINGTON AVENUE, 29TH FL, SUITE 2910
BOSTON, MA 2199-7685
4604351
05/19/2008
1

GUERRERIO
MATTHEW J.
No Business Address
4576922
02/04/2008
1

GULATI
MANEESH 
McCarter &amp; English
Worldwide Plaza
825 8th Avenue, 31st Floor
New York, NY 10019
5495817
01/23/2017
1

GUMER
JASON BRIAN
Sherman &amp; Howard LLC
633 17th St Ste 3000
Denver, CO 80202-3622
5056908
07/02/2012
1

GUO
XUEQIONG 
Hainan Huihai Law Office
273 Jiyang Avenue
Sanya, CHINA
4806204
02/22/2010
1

GURSEL
ALI R.
CURTIS MALLET-PREVOST, COLT &amp; MOSLE LLP
101 PARK AVE
NEW YORK, NY 10178-2
2782340
10/28/1996
1

GURVICH
MONIKA AGNIESZKA
HSBC Bank SA
330 Madison Ave FL 5
New York, NY 10017-5042
5072228
11/28/2012
2

GUTIERREZ
RAMON 
NORTHERN MANHATTAN IMPROVEMENT CORP
45 WADSWORTH AVE
NEW YORK, NY 10033-7048
2563146
07/12/1993
1

GUTIERREZ MORENO
HELENA 
RDA &amp; SOTOMAYOR ABOGADOS
PROLONGACION LOS SOLES #200
TORRE III, COL. VALLE ORIENTE
SAN PEDRO GARZA GARCIA NUEVO LEON 66290, MEXICO
5456280
12/12/2016
1

GUZMAN
DANIEL ENRIQUE
HEB
646 S Flores St # 3
San Antonio, TX 78204-1219
4717021
05/01/2009
1

HAFIZ
HIBA 
Boston College Law School
885 Centre St
Newton, MA 2459-1148
5022116
03/26/2012
1

HAGES
MICHAEL THOMAS
Price Heneveld LLP
695 Kenmoor Ave SE
Grand Rapids, MI 49546-2375
4686630
02/09/2009
1

HAIDER
SAIRA BANO
THE BLACKSTONE [*14]GROUP
345 PARK AVE
NEW YORK, NY 10154-4
5140975
10/07/2013
1

HAIT
JAY JESSE
Jay Hait, Esq.
HaChartzit 12
Dirah 19
Holon, ISRAEL
2846335
09/15/1997
1

HALE
CHRISTOPHER WILLIAM
No Business Address
5463039
10/24/2016
1

HALFENGER
ALAN KENT
777 3RD AVE FL 22
NEW YORK, NY 10017-1401
2604643
04/27/1994
2

HALICKMAN
MICHELE ELISSA
Brookfield Asset Management
250 Vesey St FL 15
New York, NY 10281-1065
4832929
04/26/2010
1

HALPERN
SHIRIN 
RON GAZIT, ROTENBERG &amp; CO.
46 ROTHSCHILD BLVD
TEL-AVIV 66883, ISRAEL
2358992
07/16/1990
1

HALPERN
TODD HENRY
Venable LLP
600 Massachusetts Ave NW
Washington, DC 20001-5358
2829372
06/02/1997
1

HAMM
MATTHEW CRAIG
Morgan Lewis &amp; Bockius LLP
1701 Market St
Philadelphia, PA 19103-2903
4627493
07/30/2008
1

HARANZO
GILDA 
Citibank, N.A.
153 east 53rd Street, 24th floor
New York, NY 10022
2314912
03/07/1990
2

HARDEN
R DAVID
No Business Address
2704930
09/18/1995
1

HARDESTY, JR
LEONARD JOSEPH CHARLES
HARDESTY LAW GROUP, P.C.
410 ROUTE 10 STE 210
LEDGEWOOD, NJ 7852
3894862
09/18/2000
1

HARGROVE
JAMES KEVIN
JAMES HARGROVE
370 Lexington Ave Ste 2103
New York, NY 10017-6503
1687920
05/14/1980
2

HARMON
MARY 
GOLDMAN SACHS
200 WEST ST
NEW YORK, NY 10282-2102
2077261
07/07/1986
1

HARRIS
ALEXANDRIA GRAY
Community Development Venture Capital Alliance
475 Riverside Dr Ste 1264
New York, NY 10115-52
5426739
03/16/2016
2

HARRIS
MONICA SANTANA
No Business Address
5145503
10/28/2013
1

HASAN
SABRINA SOLANGE
WILLKIE FARR &amp; GALLAGHER LLP
787 7TH AVE
NEW YORK, NY 10019-6018
5573696
12/06/2017
3

HASSAN
IMAN 
Seward &amp; Kissel
1 Battery Park Plz
New York, NY 10004-1405
5641188
09/17/2018
1

HAVEL
BRIAN FRANCIS
McGILL UNIVERSITY FACULTY OF LAW
3690 PEEL STREET
MONTREAL, CANADA
1996701
05/06/1985
1

HAYASHI
YUKAKO 
No Business Address
2992378
08/11/1999
1

HAYES
TAYANITA TARA
Tayanita Tara Hayes, P.C.
PO Box 25051
San Mateo, CA 94402-5051
3900248
10/30/2000
1

HAYNES
LE ROY T
CITIGROUP GLOBAL MARKETS INC.
388 GREENWICH ST FL 17
NEW YORK, NY 10013-2362
4249702
06/24/2004
4

HEEB
DAVID GARY
Lowenstein Sandler LLP
1251 Avenue of The Americas
New York, NY 10020-1104
3926870
12/11/2000
1

HEFFNER
ARTHUR ROY
ARTHUR ROY HEFFNER
150 W 95TH ST APT 7C
NEW YORK, NY 10025-6667
3901436
10/30/2000
1

HEGEDUS
LAURA ELIZABETH
BANK OF NEW YORK MELLON
240 Greenwich Street
6th Floor West
New York, NY 10286-1
2661619
01/23/1995
1

HELFAND
ROBERT DAVID
OFFICE OF THE STATE COMPTROLLER RETIREMENT SERVICES DIV.
55 ELM ST
HARTFORD, CT 6106-1746
1990365
04/15/1985
1

HENDRIX
ROBERT THOMAS
JPMorgan Chase Bank, N.A.
780 Kansas Ln
Monroe, LA 71203-4774
3939766
01/22/2001
1

HENRIQUEZ, II
FRANCOIS G.
Shutts &amp; Bowen LLP
200 S Biscayne Blvd Ste 4100
Miami, FL 33131-2362
1923168
05/07/1984
1

HERMAN
DAVID 
HAUG PARTNERS LLP
745 5TH AVE
NEW YORK, NY 10151-99
4332839
11/16/2005
2

HERRINGTON
ANGELA MEI
LATHAM &amp; WATKINS LLP
811 Main St Ste 3700
Houston, TX 77002-6130
5303425
11/24/2014
1

HERZOG
JULIE 
IC AVOCATS
133 BOULEVARD HAUSSMANN
75008 PARIS[*15], FRANCE
4094389
11/18/2002
1

HESTER
FELIX MAURICE
FELIX M. HESTER
1 LIBERTY PLAZA FL 48
NEW YORK, NY 10006-1405
2057057
05/07/1986
2

HILL-EDGAR
WILLIAM KEYES
VIACOM INC.
1515 BROADWAY
NEW YORK, NY 10036-8901
2657328
01/24/1995
3

HILLMAN
PETER N.
NORTON ROSE FULBRIGHT US LLP
1301 AVENUE OF THE AMERICAS
NEW YORK, NY 10019-6022
1373349
02/05/1979
1

HINDIN
SARA CHANA
US District Court for the District of New Jersey
402 E State St
Trenton, NJ 8608-1507
5245006
06/02/2014
1

HIREMATH
ISHANDEV PRABHUDEV
Marsh McLennan
1166 Avenue of The Americas
New York, NY 10036-2708
5430905
04/27/2016
2

HOEBEN
CLAUDIA 
Viacom
1515 Broadway
New York, NY 10036-8901
5385703
11/23/2015
1

HOLAHAN
ELLEN JOYCE
ELLEN HOLAHAN, ATTORNEY AT LAW
415 W 50th St
New York, NY 10019-6526
2430411
08/12/1991
1

HOLM
LAURA PAOLA
CREEL, GARCIA-CUELLAR, AIZA Y ENRIQUEZ
PEDREGAL 24 24TH FLOOR
COLONIA MOLINO DEL REY
MEXICO CITY 11040, MEXICO
5228655
03/17/2014
1

HOLZHAEUSER
WILSON JAMES
Greenstein and Milbauer
1825 Park Ave FL 9
New York, NY 10035-1641
5364260
08/19/2015
2

HOROWITZ
GARY N.
DAVID ROZENHOLC &amp; ASSOC.
400 MADISON AVE FL 19
NEW YORK, NY 10017-8912
1360189
10/16/1978
3

HORTON, II
WILLIAM BAIRD
No Business Address
2021046
05/06/1985
1

HSU
KE-WEI WILLIAM
2F-3, NO. 10, LANE 236
TUN HWA SOUTH ROAD, SEC.1
106 TAIPEI, TAIWAN
2439008
10/29/1991
1

HUANG
HSIANG-YU 
No Business Address
5257076
05/12/2014
1

HUO
BO 
Bo Huo
Tencent Binhai Towers, 33 Haitian 2nd Road
Nanshan, 518054
Shenzhen, CHINA
5623061
07/16/2018
1

HURLEY
MICHAEL J.
Law Office of Michael J. Hurley
91 Van Cortlandt Ave W
Apt 2C
Bronx, NY 10463-2746
2887263
05/20/1998
2

HUTCHINS
MARIE KIMBERLY
HARBOR CONSULTING ENGINEERS, INC
3316 Fuhrman Ave E Ste 250
Seattle, WA 98102-3800
5544168
09/18/2017
1

HUTTON
CLELLAND PEABODY
ORION PARTNERS HOLDINGS LIMITED
Unit 2301, 23rd Floor, Vertical Sq
28 Heung Yip Road
Wong Chuk Hang, HONG KONG
1033067
06/19/1978
1

HWANG
YOONYOUNG 
No Business Address
5618889
06/18/2018
1

HYMAN
ELLIC M.
HEIDELL PITTONI MURPHY &amp; BACH
99 Park Ave FL 7
New York, NY 10016-1608
2021244
10/29/1985
3

HYMAN
MIDGE MANDY
COWAN LIEBOWITZ &amp; LATMAN PC
1133 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-6710
2125433
03/23/1987
1

IMAYOSHI
SHINICHI 
MITSUI SUMITOMO INSURANCE CO
3-9 KANDA SURUGDAI
CHIYODA-KU
TOKYO 101-8011, JAPAN
2891422
04/20/1998
1

INABA
GAIL MISAKO
No Business Address
1807353
03/22/1982
1

INGEN-HOUSZ
CLARA COLETTE
STELLANTIS
TAURUSAVENUE 1
2132-LS
HOOFDDORP, NETHERLANDS (KINGDOM OF THE)
3036241
02/28/2000
1

INGENITO
ADRIANA TANIA
McKinsey &amp; Company
90 Av. des Champs-Elysees
Paris FRANCE 75008, FRANCE
5335302
04/20/2015
1

IORDANOV
EMIL BORILOV
BANK OF ENGLAND
THREADNEEDLE ST
LONDON EC2R 8AH, UNITED KINGDOM
4789160
01/11/2010
1

IRVIN
JILL M.
BUMBLE BEE FOODS, LLC
280 10th Ave
San Diego, CA 92101-7406
2777852
10/07/1996
1

ISHIHARA
SHINICHIRO 
No Business Address
5640925
09/17/2018
1

ISMAIL
TAREK 
SUNSHINE GROUP
2A BAHGAT ALI ST., APT. 3
ZAMALEK
CAIRO, EGYPT
4072740[*16]
07/23/2002
1

ISRAEL
STEVEN MARK
No Business Address
3412145
07/23/1980
2

JABALI
MALAIKA AISHA
COUNCIL OF THE CITY OF NEW YORK
250 BROADWAY
NEW YORK, NY 10007-2516
5500947
04/26/2017
2

JACKEL
SARAH KATHERINE
Vote.org
4096 Piedmont Ave # 368
Oakland, CA 94611-5221
4554606
12/04/2007
1

JACKSON
NICHOLAS DAMIEN
SCHULTE ROTH &amp; ZABEL LLP
919 3RD AVE
NEW YORK, NY 10022-3902
5507355
03/24/2017
3

JACOBSEN
JESSE ROY
University of Southern California
1150 S Olive St Ste 2000
Los Angeles, CA 90015-2693
4628186
07/25/2008
1

JEAN
SOUMAYA NATHALIE
50-52 BOULEVARD HAUSSMANN
75009 PARIS, FRANCE
5551627
10/23/2017
1

JEGADEESH
ANUSHA 
Vashi and Vashi
D 22 Dhanraj Mahal, CSM Marg,
Colaba
Mumbai, INDIA
5705983
05/13/2019
1

JENKINS
GARRY WILLIAM
UNIVERSITY OF MINNESOTA LAW SCHOOL
381 WALTER F MONDALE HALL
229 19TH AVE S
MINNEAPOLIS, MN 55455
3029634
01/31/2000
1

JENSEN
NICHOLAS FRANEY
UBS
1285 Avenue of The Americas
New York, NY 10019-6031
5372420
10/05/2015
1

JIANG
XINYAN 
Jingtian &amp; Gongcheng
33th Floor, Office Tower 3
China Cenral Place, 77 Jianguo Road
Beijing 100025, CHINA
5506464
03/20/2017
1

JING
MING 
Xinxing Street No. 115, Baita District, Liaoyang
Xinxing Street
Liaoyang, CHINA
5733852
09/09/2019
1

JOHNSON
GARRY WAYNE
511 LAW
330 Himmarshee St Ste 215
Ft Lauderdale, FL 33312-1712
2089472
11/03/1986
1

JONES
SCOTT CURTIS
LATHAM &amp; WATKINS LLP
555 11th St NW Ste 1000
Washington, DC 20004-1327
4598645
04/28/2008
1

JOOMA
FARYAL 
JOOMA LAW ASSOCIATES-ADVOCATES &amp; LEGAL COUNSELLORS
205-A, E.I. LINES
DR. DAUDPOTA ROAD
KARACHI 75530, PAKISTAN
4088399
10/28/2002
1

JOSEPH
CHARLES E.
Joseph &amp; Kirschenbaum LLP
32 Broadway Ste 601
New York, NY 10004-1689
2434991
09/19/1991
1

JOSEPH
CHERYL CAMILLE
State of Connecticut- Norwalk Community College
188 Richards Ave
Norwalk, CT 6854-1634
4232427
05/10/2004
1

JULES
ADRIENNE HUNTER
No Business Address
4089785
10/28/2002
1

KAHAN
MARTIN J.
METROPOLITAN LIFE INS CO, AREA 4N.560
200 Park Ave
New York, NY 10166-5
2477610
04/29/1992
2

KAISERMAN
BRUCE SCOTT
CREDIT SUISSE
11 Madison Ave FL 4
New York, NY 10010-3643
2963254
05/05/1999
2

KALAS
JOANNE CATHERINE
Foster Pepper PLLC
1111 3rd Ave Ste 3000
Seattle, WA 98101-3296
4980959
01/23/2012
1

KALICHMAN
DANA 
No Business Address
4451647
11/20/2006
1

KALYVAS
DIMITRIOS 
KOUTALIDIS LAW FIRM
115, KIFISIAS AVE
ATHENS 11524, GREECE
5205323
11/18/2013
1

KAMEROW
STEPHANIE J.
808 COLUMBUS AVE APT 9L
NEW YORK, NY 10025-5153
2357291
06/18/1990
1

KANE
RUSSELL LLOYD
NATIXIS INVESTMENT MANAGERS
888 BOYLSTON ST
BOSTON, MA 2199-8197
2820678
04/14/1997
1

KANTOR
MICHAEL EVAN
No Business Address
4624706
07/30/2008
1

KAPETAN
KAITY 
Kid's Korner Preschool
247 W 24th St
New York, NY 10011-1741
2538643
11/03/1993
2

KAPLOWITZ
JAY M.
Sichenzia Ross Ference LLP
1185 Avenue of The Americas FL 37
New York, NY 10036-2603
1238450
04/26/1972
2

KAPPEL
MICHAEL JAY
DIAPOULES &amp; FEINSTEIN
521 5TH AVE STE 1708
NEW YORK, NY 10175-3
2690303
05/22/1995
1

KAREV
ORI JOSEPH
No [*17]Business Address
2502607
09/21/1992
1

KASAL
SHIKHA 
SK LAW PROFESSIONAL CORPORATION
216-20
MARITIME ONTARIO BLVD.
BRAMPTON, CANADA
5570189
12/11/2017
1

KATCHER
DANIEL ERIC
JOELE FRANK, WILKINSON, BRIMMER KATCHER
622 3RD AVE FL 37
NEW YORK, NY 10017-6729
2549152
04/26/1993
1

KATZ
MICHAEL S.
QUADRANGLE CONSNLTING LLC
1325 6TH AVENUE, 28TH FLOOR
NEW YORK, NY 10019-6583
2345296
05/07/1990
1

KAUFFMAN
NICHOLAS J.
WILSON ELSER
150 E 42ND ST FL 23
NEW YORK, NY 10017
2737740
01/22/1996
1

KAWABATA
RYO 
No Business Address
5714985
06/24/2019
1

KAY
DAVID VICTOR
No Business Address
4542692
10/22/2007
1

KAZANSKY
ADAM MICHAEL
REED ELSEVIER/XPERT HR
230 PARK AVE
NEW YORK, NY 10169-5
4463618
02/28/2007
2

KAZEMI MOUSSAVI
THIBAUT GUYVE
LATOURNERIE WOLFROM &amp; AVOCATS
164 RUE DU FAUBOURG SAINT-HONORE
75008 PARIS, FRANCE
4066965
07/01/2002
1

KEEGAN
MICHAEL QUIGLEY
TRANSACTION NETWORK SERVICES, INC.
10740 Parkridge Blvd Ste 100
Reston, VA 20191-5428
2540490
03/01/1993
1

KELLMAN
HARVEY 
Marriott International
10400 Fernwood Rd
Bethesda, MD 20817-1102
2837649
07/14/1997
1

KESSLER
STEVEN LEWIS
No Business Address
1076983
01/30/1978
1

KEYS
MARY ANN 
NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
1 Hogan Pl
New York, NY 10013-4311
5313093
02/09/2015
1

KHAN
JUVARIA SAEED
Muslim Advocates
PO Box 34440
Washington, DC 20043-4440
5027461
04/30/2012
1

KHEIT
JOHN 
Hanchuk Kheit LLP
258 Saint Nicholas Avenue, No. 8A
New York, NY 10027
4131520
03/21/2003
1

KIM
DAHSONG 
ASIAN AMERICAN LEGAL DEFENSE &amp; EDUCATION FUND
99 HUDSON ST., FL. 12
NEW YORK, NY 10013-2815
5289301
11/24/2014
1

KIM
JAI-HUN 
SAMSUNG SECURITIES CO., LTD
15th FL., SAMSUNG Electronics BLDG,.
11, 74-gil, Seochodae-ro, Seocho-gu
SEOUL, KOREA
5138839
06/17/2013
1

KIM
JEE SOO
LAW OFFICES OF JEE SOO KIM
11501 DUBLIN BLVD STE 214
DUBLIN, CA 94568
2506749
02/19/1993
1

KIM
JEONG HYO 
Google
111 8th Ave
New York, NY 10011-5201
5172820
09/16/2013
1

KIM
JUNMIN JOSEPH
No Business Address
5384854
11/23/2015
1

KIM
KEVIN 
MUNGER TOLLES &amp; OLSON
350 S GRAND AVE
LOS ANGELES, CA 90071-3749
4447975
10/31/2006
1

KIM
KIBUM 
SOTHEBY'S INSTITUTE OF ART
1017 N Dartmouth Ave
Claremont, CA 91711-3933
5073952
12/03/2012
1

KIM
PAULA SULYN
ANCHOR HEALTH PROPERTIES
425 7TH ST NE
CHARLOTTESVILLE, VA 22902-4723
5322334
02/09/2015
1

KIRGIS
ADAM THOMAS
No Business Address
4800199
02/03/2010
1

KLAPROTH
ELIZABETH SHIRE
Momjian Anderer
2005 Market St Ste 3510
Philadelphia, PA 19103-7024
4647616
11/18/2008
1

KLEINMAN
SIMON A.
H.U.D. OFFICE OF INSURED HEALTH CARE FACILITIES
26 FEDERAL PLZ
NEW YORK, NY 10278-4
2886729
06/10/1998
2

KLINGER
JANE MOULTON
SKADDEN ARPS SLATE MEAGHER &amp; FLOM LLP
4 Times Sq
New York, NY 10036-6518
4711321
04/22/2009
3

KLONER
DEAN 
No Business Address
2221471
10/03/1988
1

KNABE
DIETRICH JAN
Dallas County Public Defender
133 N Riverfront Blvd
Dallas, TX 75207-4300
4541959
10/22/2007
1

KOGAN
LEO 
FREEMAN MATHIS &amp; GARY LLP
100 GALLERIA PKWY SE STE 1600
ATLANTA, GA 30339-5948
4699708
03[*18]/16/2009
1

KOLLEENY
GLENN SCOTT
Dentons
620 5TH AVE
NEW YORK, NY 10020-2402
1834654
01/17/1983
1

KONTIZAS
NICHOLAS 
No Business Address
2775609
09/16/1996
1

KOPFLI
CHRISTIAN W.
CHROMOCELL CORPORATION
685 US Highway 1
North Brunswick, NJ 8902-3390
2963932
03/22/1999
1

KOROTEYEVA
VICTORIA 
No Business Address
4536421
09/25/2007
1

KOTNER
JILL RACHEL
No Business Address
3032257
01/31/2000
1

KRAHEL
WIOLETTA 
STATE STREET ALTERNATIVE INVESTMENT SOLUTIONS IFS A STATE STREET CO.
1290 Avenue of The Americas FL 10
New York, NY 10104-101
4341582
09/27/2005
3

KRAMER
STEPHEN DAVID
PAVIA &amp; HARCOURT, LLP
230 PARK AVE STE 2401
NEW YORK, NY 10169-5
1068998
03/05/1975
2

KRASNOSTEIN
SARAH 
FACULTY OF LAW, MONASH UNIVERSITY
BUILDING 12
CLAYTON
VICTORIA 3800, AUSTRALIA
4391934
02/21/2006
1

KRAWITZ
THOMAS PETER
LUPP UND PARTNER PARTNERSCHAFT VON RECHTSANWAELTEN MBB
BUERKLEINSTRASSE 10
80538 MUNICH, GERMANY
4985966
11/21/2011
1

KUHN
STEPHEN B.
AKIN, GUMP, STRAUSS, HAUER &amp; FELD, L.L.P
1 Bryant Park
New York, NY 10036-6728
2434868
09/19/1991
1

KURRIK
ILOMAI CATHERINE
Siguler Guff &amp; Company, LP
200 Park Ave FL 23
New York, NY 10166-2399
4368031
12/12/2005
1

LA CHAPELLE
CAROLE CATHERINE
Molex, LLC
2222 Wellington CT
Lisle, IL 60532-3831
2999399
10/18/1999
1

LACEY
MEGHAN MARIE
THE LEGAL AID SOCIETY
49 Thomas St
New York, NY 10013-3821
5230347
05/21/2014
2

LADUZINSKI
STEVEN MORRIS
No Business Address
3933074
01/09/2001
1

LAM
IRA YEE-WAH
Rally Network, Inc.
235 Pine St Ste 2200
San Francisco, CA 94104-2758
4162947
08/07/2003
1

LAM
JOHN PAK WAI
MACQUARIE GROUP
LEVEL 9, 50 MARTIN PLACE
SYDNEY NSW 2000, AUSTRALIA
4495909
03/20/2007
1

LAM
QUYNH GWYNN
Ford Motor Company
1 American Rd
Dearborn, MI 48126-2701
2985414
06/14/1999
1

LAMERE
ELIZABETH JANE
ELR LEGAL SEARCH
99 PARK AVE FL 18
NEW YORK, NY 10016-1601
1935162
05/07/1984
1

LAMPERT
LISA JILL
Capital Dynamics
10 E 53rd St
New York, NY 10022-5244
2676708
05/17/1995
2

LAN
VANESSA GOLDIE
BLOOMBERG L.P.
120 Park Ave
New York, NY 10017-5577
4581419
05/07/2008
2

LANDAU
JOSEPH EPHRAM
CTI Africa LLC
450 W End Ave
New York, NY 10024-5307
5555081
11/20/2017
1

LANE
KYLIE MARIE
ASHURST - AUSTRALIA
181 WILLIAM STREET
MELBOURNE VICTORIA 3000, AUSTRALIA
4771523
12/08/2009
1

LANE
MAUREEN ELIZABETH
Amazon
2021 7th Ave
Seattle, WA 98121-2601
4709630
03/23/2009
1

LANG
ASHLEY 
No Business Address
4490397
03/05/2007
1

LAREDO
ANNE CAMILLE
NORTON ROSE FULBRIGHT
40 RUE DE COURCELLES
75008 PARIS, FRANCE
5006622
03/26/2012
1

LARSON
JENNIFER DAWN
JOHN R. FOLEY P.C.
18572 Outer Dr
Dearborn, MI 48128-1872
4751780
09/15/2009
1

LASTRES
STEVEN ANTONIO
DEBEVOISE &amp; PLIMPTON LLP
919 3RD AVE
NEW YORK, NY 10022-3902
4180626
03/10/2004
2

LAUFER
DAVID ANDREW
MAYER BROWN LLP
1221 AVENUE OF THE AMERICAS
NEW YORK, NY 10020-1001
5432182
05/09/2016
1

LAURELLO
JULIANA M.
GREENBERG TRAURIG
2101 L STREET NW STE 1000
WASHINGTON, DC 20037-1593
4615167
07/07/2008
1

LAUTENBERG
MELISSA BETH
No Business Address
2617660
05[*19]/02/1994
1

LAVENA
MARIA SOLEDAD
JP MORGAN CHASE
Eduardo Madero 900
Buenos Aires, ARGENTINA
4452785
11/20/2006
1

LEAVITT
JEFFREY MICHAEL
1201 W PEACHTREE ST NW STE 2800
ATLANTA, GA 30309-3450
2856680
04/20/1998
1

LEE
BRIAN 
No Business Address
5020284
07/11/2012
2

LEE
CHI 
Lee and Li, Attorneys-at-law
8F, No. 555, Zhongxiao E. Road
Taipei, TAIWAN
5733811
10/07/2019
1

LEE
EUN NYUNG 
KL Partners
7th Floor, Tower 8
Jongro 5-gil, Jongro-gu
SEOUL 03157, KOREA
5069398
09/10/2012
1

LEE
JAEWON 
JM PARTNERS
#309, BONGEUNSA- RO 410
GANGNAM- GU
SEOUL, KOREA
3907391
11/20/2000
1

LEE
KEUN BYUNG
BAE, KIM &amp; LEE LLC
KOREA INTELLECTUAL PROPERTY SERVICE CENTER 13F
131 TEHERAN-RO
GANGNAM-GU, SEOUL 135-980, REPUBLIC OF SOUTH KOREA
2472215
02/25/1992
1

LEE
MARGARET SHUI-HING
224 E 13TH ST, #1
NEW YORK, NY 10003-5626
2457448
01/22/1992
3

LEE
MIN HO
No Business Address
4094553
02/27/2003
3

LEE
MINJOO 
JP Morgan Chase &amp; Co.
4 New York Plz
New York, NY 10004-2413
2937787
12/07/1998
1

LEE
SAMUEL SUNGBOK
No Business Address
5376207
09/21/2015
1

LEE
SANG-HYUN 
SHIN &amp; KIM
8th Floor, State Tower Namsan
100 Toegye-ro, Jung-gu
SEOUL 04631, KOREA
4406666
04/24/2006
1

LEE
STEPHEN 
NEW YORK STATE DIVISION OF HUMAN RIGHTS
1 FORDHAM PLZ FL 4TH
BRONX, NY 10458-5871
2675965
03/15/1995
2

LEE
SUK 
SHIN &amp; KIM
8TH FLOOR, STATE TOWER NAMSAN
100 TOEGYE-YO, JUNG-GU
SEOUL 100-052, KOREA
4602140
05/19/2008
1

LEFF
KATHERINE VICTORIA GUENTHER
No Business Address
2412310
04/15/1991
1

LEISHMAN
RICHARD ALAN
Eversheds Sutherland (US) LLP
1114 Avenue of The Americas FL 40
New York, NY 10036-7703
5326160
01/22/2015
3

LEITMAN
JONATHAN LEE
Jonathan Leitman, Esq.
30-14 Nicholson Dr
Fair Lawn, NJ 7410-4109
4839619
06/11/2010
1

LENIHAN
GREGORY ALOYSIUS
XL INSURANCE
100 CONSTITUTION PLZ FL 17
HARTFORD, CT 6103-1702
2285773
07/17/1989
1

LENNON
ROBERT GEORGE
LINDEN ADVISORS LP
590 Madison Ave FL 15
New York, NY 10022-2524
2558799
06/14/1993
1

LEONE
RICHARD G.
UBS FINANCIAL SERVICES BANK
1285 5TH AVE
NEW YORK, NY 10029
4799110
01/25/2010
1

LEVINBERG
LAURIE JOAN
No Business Address
1716760
03/16/1981
1

LEVINE
JENNIFER ANN
853 N ELSTON AVE
CHICAGO, IL 60642-4102
2328938
01/22/1990
1

LEVINSON
WILLIAM MARK
CARLTON FIELDS
2029 CENTURY PARK E STE 1200
LOS ANGELES, CA 90067
3962941
01/16/1984
1

LEVITIN
ELIEZER 
WOLFSON GROUP
1 State St FL 29
New York, NY 10004-1561
2276756
06/21/1989
2

LEVY
BRUCE A.
GIBBONS, PC
1 GATEWAY CTR
NEWARK, NJ 7102-5310
2266856
04/17/1989
1

LEVY
DAVID B.
U.S. Bancorp
1095 Avenue of The Americas FL 13
New York, NY 10036-6797
1942515
08/01/1984
2

LEW
LUCIANA SAN-NAW
LUCIANA LEW
4143 BEEKMAN ST FL 2
NEW YORK, NY 10038
1863018
05/23/1983
1

LI
YANGZHONGHAO 
No Business Address
5617691
09/17/2018
1

LIN
KEVIN CHUANG-HAN
No Business Address
3989118
07/30/2001
1

LIN
LYU 
No Business Address
5701412
10/07/2019
1

LIND-GUZIK
ANNA 
No Business Address
5308440
12/08/2014
1

LIPPMAN
ALEXANDRA NICOLE
JRK Property Holdings
11766 Wilshire Blvd Ste 1500[*20]
Los Angeles, CA 90025-6552
5253158
04/28/2014
1

LISK
JOSHUAH WALLACE
NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
1 Hogan Pl
New York, NY 10013-4311
5376736
09/16/2015
2

LITTON
JAMES M.
JAMES M LITTON
38 GRAY ST
BOSTON, MA 2116-6210
1286871
03/11/1974
1

LIU
HAITAO 
No Business Address
4954079
07/12/2011
1

LIU
HSIAO-CHI 
3Shape
Holmens Kanal 7
Copenhagen, DENMARK
5648126
11/19/2018
1

LIU
QIAN 
No Business Address
5481601
01/23/2017
1

LIU
TING-YA 
LEE AND LI, ATTORNEYS-AT-LAW
9F., NO. 201, TUN HUA N. RD.
TAIPEI CITY 105, TAIWAN, R.O.C.
5290952
12/08/2014
1

LIU
YANG 
JUN HE LAW OFFICES
22F, CHINA RESOURCES BUILDING
NO. 8 JIANGUOMENBEI AVENUE
BEIJING 100005, CHINA
4933537
04/06/2011
1

LOMAZOW
JILLIAN 
NYC LAW DEPT. OFFICE OF CORPORATION COUNSEL
52 DUANE ST
NEW YORK, NY 10007-1207
4047445
04/08/2002
1

LOMBARDI
CHRISTINE 
THE WARFIELD GROUP, LLP
223 WALL ST
BOX 251
HUNTINGTON, NY 11743
2651479
03/15/1995
2

LONGWORTH
PETER VON
FOLEY SMIT OBOYLE &amp; WEISMAN
100 WILLIAM ST STE 1800
NEW YORK, NY 10038-4512
1696806
10/27/1980
1

LONGWORTH
STEPHANIE LAUREN
FOLEY, SMIT, O'BOYLE &amp; WEISMAN
100 WILLIAM ST STE 1800
NEW YORK, NY 10038-4512
5032255
04/18/2012
2

LU
HUIXING 
LEE EQUITY PARTNERS, LLC
650 MADISON AVE
NEW YORK, NY 10022-1029
5079504
11/09/2012
3

LUCAS
BRISETTE 
No Business Address
4360475
11/21/2005
1

LUI
HILDA 
L Catterton
10 Glenville St FL 2
Greenwich, CT 6831-3680
5263413
06/02/2014
1

LUKOF
AMANDA LEIGH
RIKER DANZIG SCHERER HYLAND &amp; PERRETTI LLP
1 Speedwell Ave
Morristown, NJ 7960-6838
5483144
01/23/2017
1

LUKOWSKI
JAY D.
KAPLAN &amp; LUKOWSKI, LLP
333 Sandy Springs Cir Ste 200
Atlanta, GA 30328-3834
1120518
03/13/1978
1

LUSTMANN
YAEL 
No Business Address
3989688
07/24/2001
1

MA
JUNLING 
DIVISION OF ENFORCMENT, LOS ANGELES REGIONAL OFFICE
SECURITIES &amp; EXCHANGE COMMISSION
444 S.Flower Street, Suite 900
LOS ANGELES, CA 90071
2618049
05/02/1994
1

MACDONALD
MYLES R.
Lowenstein Sandler LLP
1251 Avenue of The Americas FL 19
New York, NY 10020-1104
5720685
09/09/2019
1

MACKAY
KIRSTY JAN
Shearman &amp; Sterling LLP
Etihad Towers, Tower 3, 21st Floor
Abu Dhabi, UNITED ARAB EMIRATES
4418109
06/05/2006
1

MACKIEWICZ
EDWARD ROBERT
STEPTOE &amp; JOHNSON
1330 CONNECTICUT AVE NW
WASHINGTON, DC 20036
1125996
02/22/1977
1

MAGRO
JOSEPH MICHAEL
Mayer Brown LLP
700 Louisiana St FL 34
Houston, TX 77002-2700
5333083
03/02/2015
1

MAKICH
ANN SERINA
No Business Address
2902005
05/18/1998
1

MALCA
JOSEPH PHILLIP
No Business Address
5201264
12/06/2013
3

MALOFF
JOSH RYAN
277 PARK AVE
NEW YORK, NY 10172-3
4939864
09/14/2011
2

MALONE-O'MEALLY
GABRIEL 
Paul, Weiss, Rifkind, Wharton &amp; Garrison
1285 Avenue of The Americas
New York, NY 10019-6031
5701149
06/24/2019
1

MALONEY DERHAM
ROBERT JAMES
Matheson
200 Park Ave
New York, NY 10166-5
5499371
02/23/2017
3

MANES
STEPHANIE DUNBAR
333 E 91st St Apt 15c
New York, NY 10128-5888
2935716
11/10/1998
1

MANFREDI
MATTHEW JAMES
THE CITY UNIVERSITY OF NEW YORK
395 HUDSON ST FL 5
NEW YORK, NY 10014-3669
5114129[*21]
08/28/2013
2

MANGASER
ROBIN DELIZO
No Business Address
5205299
02/24/2014
1

MANN
PATRICIA S
No Business Address
4426722
06/26/2006
1

MANN
RICHARD J.
GROSS, KLEINHENDLER ET AL
1 AZRIELI CENTER
TEL AVIV 67021, ISRAEL
2253672
02/06/1989
1

MANZO
FRANCES PATRICIA
New York County District Attorney's Office
1 Hogan Pl
New York, NY 10013-4311
5670567
01/14/2019
1

MARKS
JONATHAN K
No Business Address
5650007
11/19/2018
1

MARLOW
JESSICA ELENA
Mallinckrodt Pharmaceuticals
1425 Route 206
Bedminster, NJ 7921
4307963
03/07/2005
1

MAROSI
NATASHA DOMINIQUE
No Business Address
4272811
05/18/2005
2

MARTIN
HAROLD HAMMON
LAW OFFICES OF HAROLD H. MARTIN, P.A.
19720 JETTON RD FL 3
CORNELIUS, NC 28031
1891563
12/05/1983
1

MARTIN
JONATHON ADAM
Robinson Bradshaw &amp; Hinson
1450 Raleigh Rd Ste 100
Chapel Hill, NC 27517-8833
4857496
07/21/2010
1

MARTIN
THENE M.
HOGAN LOVELLS US LLP
100 INTERNATIONAL DR STE 2000
BALTIMORE, MD 21202
2351492
06/04/1990
1

MASCARUA
MARCO ANTONIO
AVENIDA ALFONSO #2202 NORTE
COLONIA BELLA VISTA
CP 64410
MONTERREY, MEXICO
4045498
03/26/2002
1

MASCIANDARO
MARIA CHIARA 
BROWN RUDNICK LLP
7 TIMES SQ
NEW YORK, NY 10036-6524
3951647
03/05/2001
1

MASSEY
DANIEL MATTHEW
Root, Inc.
80 E Rich St
Columbus, OH 43215-5249
5093463
01/14/2013
1

MASSON
MAGALI 
DE PARDIEU BROCAS MAFFEI
57, AVENUE D'IENA
75116 PARIS, FRANCE
2991313
07/27/1999
1

MATA MORREO
GUSTAVO ANTONIO
Cuatrecasas
Calle Almagro 9
Madrid 28010, SPAIN
5704994
06/03/2019
1

MATAICHI
YOSHIO 
LTE LAW OFFICES
OKAMURA AKASAKA BUILDING 5F
13-1, NAGATA-CHO, 2-CHOME, CHIYODA-KU
TOKYO 100-0014, JAPAN
2170041
12/01/1987
1

MATERASSI
GABRIELA M.
16 Oakland St
Princeton, NJ 8540-3441
2715951
12/11/1995
1

MATHEUS
ROBERTA DOS REIS
LEFOSSE ADVOGADOS
RUA TABA PUA, 1227, 14 FLOOR
SAO PAOLO SAO PAOLO 04533-014, BRAZIL
5553581
11/20/2017
1

MCADAMS
JULIE CHRISTENE JUDD
OFFICE OF GENERAL COUNSEL
201 Presidents Cir Rm 309
Salt Lake City, UT 84112-9018
4172193
10/09/2003
1

MCARTHUR
STEPHEN CHARLES
The McArthur Law Firm, PC
11400 W Olympic Blvd Ste 200
Los Angeles, CA 90064-1584
4617742
07/07/2008
1

MCCARTHY, III
ANDREW C.
NATIONAL REVIEW INST.
19 W 44th St Ste 1701
New York, NY 10036-6101
2050383
03/03/1986
1

MCCLURE
RACHAEL PENMAN
MONGODB ITALY SRL
MILAN OVIA DELLA MOSCOVA 3
MILAN, ITALY (REPUBLIC OF)
5178314
10/07/2013
1

MCCOY
MARYANN O'DONNELL
O'DONNELL MCCOY HELENIAK, LLC
86 WASHINGTON ST
MORRISTOWN, NJ 7960-8608
2353860
01/22/1990
1

MCDANIEL
GENEVA BARBARA
QUINN EMANUEL URQUHART AND SULLIVAN
295 5TH AVE
NEW YORK, NY 10016-7103
4863890
02/08/2010
1

MCDONALD
JOHN EAMON
SANFORD C. BERNSTEIN
1345 AVENUE OF THE AMERICAS FL 15
NEW YORK, NY 10105-302
2740728
05/29/1996
2

MCFARLANE
RUTH 
No Business Address
3996329
09/17/2001
1

MCGREEVY
JOHN JOSEPH
Prosiris Capital Management LP
510 Madison Avenue
20th Floor
New York City, NY 10022
2500106
09/16/1992
2

MCINTOSH, JR
FREDERICK WYNTER
ATTORNEY PLACEMENTS INTERNATIONAL
245 PARK AVE FL 39
NEW YORK, NY 10167-4000
3871175
10/11/[*22]1995
1

MCMAHON
PATRICK JOSEPH
GUGGENHEIM PARTNERS
330 Madison Ave FL 10
New York, NY 10017-5051
2946879
01/11/1999
1

MCNEW
CHARLES SANDERS
McNew P.A.
2385 NW Executive Center Dr Ste 100
Boca Raton, FL 33431-8510
2511418
11/30/1992
1

MCREYNOLDS
GRACE ANNE
Taylor Root
2 Park Ave
New York, NY 10016-5675
5514062
06/19/2017
1

MEDINA
DEREK MARTYN
ABC NEWS, INC.
47 W 66TH ST
NEW YORK, NY 10023-6201
2775385
09/16/1996
1

MELLY
JEANNINE L.
JASA
247 W 37th St FL 9
New York, NY 10018-5193
5229232
05/12/2014
1

MELLYNCHUK
SCOTT JAMES
NYU Langone Health
1 Park Ave FL 4
New York, NY 10016-5818
5350939
06/26/2015
2

MENGES
KYLE WARD
GUNDERSON DETTMER STOUGH VILLENEUVE FRANKLIN &amp; HACHIGIAN LLP
220 W 42ND ST
NEW YORK, NY 10036-7200
5722475
07/19/2019
3

MENZA
MARJORIE JOSEL
Hueston Hennigan
523 W 6th St Ste 400
Los Angeles, CA 90014-1208
4162897
08/07/2003
1

MENZI
RICHARD STANLEY WILDER
No Business Address
5069950
01/14/2013
1

MERKLINGER
ERIC MICHAEL
MCDERMOTT WILL &amp; EMERY
340 MADISON AVE
NEW YORK, NY 10173-2
5146410
07/01/2013
1

MERSHON
MICHELE 
CITY OF NY - DEPT. OF H.P.D.
100 GOLD ST RM 6V1
NEW YORK, NY 10038-1605
2323293
06/20/1990
2

METCALFE
HARLEY 
No Business Address
5748769
11/18/2019
1

MGBADA
BLAIR C
HUGHES HUBBARD AND REED LLP
1 BATTERY PARK PLZ FL 16
NEW YORK, NY 10004-1405
5731278
10/07/2019
1

MICHELSON
LUCAS LEE
No Business Address
5236534
09/29/2014
1

MIKEL
ISSA F.
Tyson &amp; Mendes LLP
1055 W 7th St Ste 2500
Los Angeles, CA 90017-2551
4444105
10/04/2006
1

MILBERG
PAUL J.
5550 Glades Rd Ste 500
Boca Raton, FL 33431-7277
2730620
01/22/1996
1

MILITZOK
BRIAN JAY
MILITZOK LAW, P.A.
4600 Sheridan St Ste 402
Hollywood, FL 33021-3438
4546230
09/25/2007
1

MILLS
MIKAYDA ANN
No Business Address
5675640
01/14/2019
1

MILLS
RICHARD SCOTT
MCELROY, DEUTSCH, MULVANEY &amp; CARPENTER, LLP
225 LIBERTY ST FL 36
NEW YORK, NY 10281-1049
2106607
02/25/1987
2

MIN
SAMUEL K.
No Business Address
2577070
11/22/1993
1

MINTOS
MOSHE 
Moshe Mintos
389 Washington St
Jersey City, NJ 7302-8957
4459350
12/05/2006
1

MITTELSTADT
DAVID JOSEPH
The Mittelstadt Law Firm LLC
2384 N Highway 341
Rossville, GA 30741-6213
4190369
12/11/2003
1

MIZRAHI
CELINE 
OFFICE OF CONGRESSMAN JERRY NADLER
201 Varick St Ste 669
New York, NY 10014-4811
4647582
07/29/2009
2

MOLINO
VIRGINIA L.
MCKINSEY &amp; COMPANY INC
711 3rd Ave FL 4
New York, NY 10017-9213
1922871
05/15/1984
3

MOLONEY
LORI FAITH
No Business Address
2497832
09/16/1992
2

MOND
JOSHUA 
DALLAS POLICE &amp; FIRE PENSION SYSTEM
4100 HARRY HINES BLVD STE 100
DALLAS, TX 75219
2194231
04/11/1988
1

MONGA
ANISH 
CRAVATH, SWAINE &amp; MOORE
825 8TH AVE
NEW YORK, NY 10019-7416
4712295
04/21/2009
1

MONTELEONE
MICHAEL CRAIG
No Business Address
5107842
04/29/2013
1

MOORE-MCSPEDON
SHEILA A.
WHITE &amp; MCSPEDON P.C.
875 AVENUE OF THE AMERICAS RM 800
NEW YORK, NY 10001-3590
1812635
05/03/1982
1

MOORING
LYNETTE AYESSA
WELLS FARGO BANK, N.A.
1300 I St NW
Washington, DC 20005-3314
4952164
07/18/2011
1

MOR
SHAI AVIHU
RBC CAPITAL [*23]MARKETS LLC
3 World Financial Ctr FL 14
New York, NY 10281-8098
2867141
01/12/1998
1

MORAN
EDWARD PATRICK
6906 Stoneybrooke Ln
Alexandria, VA 22306-1345
2286565
02/20/1974
1

MORAN
JENNIFER RUBIN
No Business Address
4569224
09/24/2008
2

MORENO
JAMES GILBERT
No Business Address
5303771
11/24/2014
1

MORENO
LUCAS 
Brigard &amp; Urrutia Abogados
Calle 70A # 4 - 41
Bogota, COLOMBIA
4834750
04/26/2010
1

MORGENSTERN
AMANDA BRYN
Klein Slowik PLLC
90 Broad St Ste 602
New York, NY 10004-3339
5224043
01/13/2014
1

MORRIS
MATTHEW PRISTON
No Business Address
2493211
06/22/1992
1

MOZARSKY
SCOTT MATHEW
Vannin Capital LLC
295 Madison Ave Ste 1215
New York, NY 10017-6434
2617744
05/02/1994
1

MULCAHY
RACHEL ILANA
2440 BROADWAY STE 135
NEW YORK, NY 10024-1158
3893963
09/18/2000
1

MULLER
NICOLAS P.
No Business Address
3968781
05/08/2001
1

MULLIGAN, JR
ROBERT J.
WELLS FARGO SECURITIES
375 PARK AVE
NEW YORK, NY 10152-3804
2751758
04/15/1996
1

MULLINS
ROISIN MARION
No Business Address
5258512
07/14/2014
1

MUNIZ
WILLIAM A.
DEPARTMENT OF HOUSING PRESERVATION &amp; DEVELOPMENT
100 GOLD ST
NEW YORK, NY 10038-1605
2935997
03/24/1999
2

MURPHY
GAVIN DAVID
SOROS FUND MANAGEMENT LLC
250 W 55th St
New York, NY 10019-9710
3053451
05/22/2000
1

MUZAFFAR
MARIAM FAIZA
The Writer
154 Grand St
New York, NY 10013-3141
4936332
03/23/2011
2

MUZIO
ALFIA ROSARIA
No Business Address
4830808
05/10/2010
1

NAFFI
KAMAL 
ARCHERS
28 RUE DUMONT D'URVILLE
75116 PARIS, FRANCE
5145586
04/29/2013
1

NAITO
JUNYA 
MOMO-O MATSUO &amp; NAMBA
KOJIMACHI DIAMOND BUILDING
4-1 KOJIMACHI CHIYODA-KU
TOKYO 102-0083, JAPAN
2745057
03/25/1996
1

NAKAGAWA
MOTOHISA 
NAGASHIMA OHNO &amp; TSUNEMATSU
JP TOWER
2-7-2, MARUNOUCHI, CHIYODA-KU
TOKYO 100-7036, JAPAN
4852513
06/28/2010
1

NAM
J STEPHANIE
No Business Address
2891232
04/07/1998
1

NARAYAN
MARUTI RACHERLA
DLA Piper LLP
1251 Avenue of The Americas FL 27
New York, NY 10020-1104
4386637
01/30/2006
1

NATARAJAN
RANJANA 
UNIVERSITY OF TEXAS SCHOOL OF LAW
727 E Dean Keeton St
Austin, TX 78705-3224
3061892
06/27/2000
1

NECOS
GENARA CRISTINA
US DOE/OCR
1 FINANCIAL SQ FL 26TH
NEW YORK, NY 10005-3500
2288769
08/07/1989
1

NEMMERS
BARRY H.
CROWELL &amp; MORING
590 MADISON AVE FL 20
NEW YORK, NY 10022-2544
1364389
05/16/1977
1

NEWMAN
DEBORAH S.
MusicStrat
315 E 68th St
14Q
New York, NY 10065-5603
4598744
04/28/2008
1

NEWMAN
JULIANNE BURRELL
NYC DEPT OF EDUCATION, OFFICE OF LEGAL SERVICES
333 7th Ave Rm 764
New York, NY 10001-5004
2667723
04/26/1995
2

NEWMAN
KENNETH 
THE BANK OF NEW YORK MELLON CORPORATION
101 Barclay Street 9w
New York, NY 10286-1
2639813
10/17/1994
1

NGO
TAM THANH
59 Titus Ave
Lawrenceville, NJ 8648-1647
4443446
10/04/2006
1

NGUYEN
ANGEL PENDLETON
Enigma Technologies
245 5th Ave FL 17
New York, NY 10016-8728
4088779
10/23/2002
2

NICHOLLS
PARIS NATHANIEL
FRIEDMAN &amp; ANSPACH
1500 Broadway Ste 2300
New York, NY 10036-4052
5207162
03/19/2014
2

NINAN
CHRIS KAITHAYIL
HERBERT SMITH FREEHILLS NEW YORK LLP
450 Lexington Ave FL 14
New York[*24], NY 10017-3904
5317755
01/12/2015
1

NISBETT
CARL BERESFORD
No Business Address
2321859
03/26/1990
1

NODEL
JORDAN 
NODEL PARKS LLC
38505 WOODWARD AVE #275
BLOOMFIELD HILLS, MI 48304
4698700
03/10/2009
1

NOMOTO
OSAMU 
NISHIMURA &amp; ASAHI
OTEMON TOWER, 1-1-2 OTEMACHI
CHIYODA-KU
TOKYO 100-8124, JAPAN
2797827
01/07/1997
1

NOTES
SETH ANDREW
No Business Address
5444518
06/06/2016
1

NOWAK
CHRISTINA 
LAW OFFICE OF CHRISTINA NOWAK ESQ.
700 SMITH ST # 610001
HOUSTON, TX 77002-2714
4450755
11/20/2006
1

O'BRIEN
MEGHAN CALLAGEE
NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE
1 Hogan Pl
New York, NY 10013-4311
5388244
11/23/2015
1

O'BRIEN, III
RAYMOND DANIEL
U.S. Dept. of Housing and Urban Development
26 Federal Plz # 3532
New York, NY 10278-4
5288071
09/18/2014
3

O'HANLON
GRACE EILEEN
PRACTISING LAW INSTITUTE
1177 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-2714
4006250
01/23/2002
2

O'LOGHLEN
COLMAN MICHAEL
No Business Address
5731286
09/09/2019
1

OBATUSIN
SIMISOLA 
CLIFFORD CHANCE US LLP
31 W 52nd St
New York, NY 10019-6118
5710405
07/15/2019
1

OBERLECHNER
LISA MARIA
CMS Rechtsanwaelte GmbH
Gauermanngasse 2-4
1010 Vienna, AUSTRIA
4933917
05/18/2011
1

ODOM
KAREN A.
No Business Address
2435501
09/19/1991
1

OH
REBECCA E.
No Business Address
5046420
06/11/2012
1

OH
SOOYEON 
LEE &amp; KO
HANJIN BUILDING
63 NAMDAEMUN-RU
SEOUL JUNG-GU 04532, REPUBLIC OF KOREA
5613104
05/14/2018
1

OLMSTEAD
JOHN C.
JOHN OLMSTEAD ATTORNEY AT LAW
45 ROCKEFELLER PLZ STE 2000
NEW YORK, NY 10111-3193
1527019
03/01/1976
1

OLSEN
MATTHEW DANIEL
No Business Address
5639638
10/22/2018
1

OQUENDO-ALVAREZ
ALBERTO JULIAN
No Business Address
5736566
10/07/2019
1

OSBORNE
STACY E.
SUPREME COURT OF THE STATE OF NEW YORK
60 Centre St
New York, NY 10007-1402
2699221
11/29/1995
2

OSTOYA
KAMA COCO
Amazon Web Services
15 St Botolph St
London ec3a 7bb, UNITED KINGDOM
4840708
06/11/2010
1

OSWALD
JAMES A.
PWC
300 MADISON AVE
NEW YORK, NY 10017-6232
2340115
05/16/1990
2

OTTERBECK
CHARLOTTA 
PILLSBURY WINTHROP SHAW PITTMAN LLP
1540 BROADWAY
NEW YORK, NY 10036-4039
2825057
05/12/1997
1

OWH
MICHAEL ILKYU
City of Los Angeles
200 N. Spring Street, 22nd Floor
Mayor's Office of Budget and Innovation
Los Angeles, CA 90012
4301032
05/10/2004
1

OYEBODE
MARYAM OLAWUNMI
OLANIWUN AJAYI LP
PLOT L2, 401 CLOSE
BANANA ISLAND
LAGOS LAGOS, NIGERIA
5584214
01/22/2018
1

PADILLA
HERNANDO A.
PRIETOCARRIZOSA
CRA 9 # 74 08
BOGOTA, COLOMBIA
4016242
12/11/2001
1

PAHIS
STRATOS NIKOLAOS
NYU SCHOOL OF LAW
245 Sullivan St # C23
New York, NY 10012-1301
4968277
10/17/2011
1

PALMER
DERYCK AINSWORTHE
PILLSBURY WINTHROP SHAW PITTMAN LLP
1540 BROADWAY
NEW YORK, NY 10036-4039
1969575
08/01/1984
2

PALSSON
KIMBERLY LENSEY
No Business Address
5099163
02/04/2013
1

PALUMBO
BRIAN MICHAEL
WILLKIE FARR &amp; GALLAGHER
787 7TH AVE
NEW YORK, NY 10019-6018
5549241
09/18/2017
1

PANTER
ARIANE ROSHAN
MCDONALD'S CORP.
110 N CARPENTER ST
CHICAGO, IL 60607
4622940
07/16/2008
1

PANTIRER
MARC HARRIS
16 MICROLAB RD
LIVINGSTON[*25], NJ 7039-1631
4806139
02/22/2010
1

PAPELL
JEFFREY HOWARD
No Business Address
2129617
04/13/1987
1

PARK
CHUL HONG 
BAE, KIM, &amp; LEE
11TH FLOOR, 133 TEHERRAN-RO
GANGNAM
SEOUL, KOREA
5292958
10/20/2014
1

PARK
PAUL SOON
Akin Gump Strauss Hauer &amp; Feld
1999 Avenue of The Stars Ste 600
Los Angeles, CA 90067-4614
5327028
03/02/2015
1

PARK
YOHAN 
No Business Address
5704556
09/09/2019
1

PARKER
THOMAS JUDE
ALSTON &amp; BIRD, LLP
90 PARK AVE
NEW YORK, NY 10016-1301
2499846
08/10/1992
1

PARLIER
HEATHER NICOLE
Columbia University
103 Low Memorial Library, MC 4333
535 116th Street
New York, NY 10027
4636080
09/08/2008
1

PATEL
KETUL 
The Childrens Place
500 Plaza Dr
Secaucus, NJ 7094-3619
4500930
04/17/2007
1

PATEL
MEGHA CHANDRESH
No Business Address
5231774
03/11/2014
3

PEABODY
BARBARA WELCH
NEW YORK CITY CORPORATION COUNSEL
100 CHURCH ST
NEW YORK, NY 10007-2601
1222249
05/21/1979
1

PELED
YUVAL 
ROPES &amp; GRAY LLP
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8704
5474093
11/21/2016
1

PELLEGRINO
MARC DANIEL
Whistle Sports, Inc.
79 Madison Ave FL 8
New York, NY 10016-7810
5333190
03/30/2015
1

PENA
MARY MCLEAN
AKIN GRUMP STRAUSS HAUER &amp; FELD LLP
1 BRYANT PARK
NEW YORK, NY 10036-6745
5534201
06/19/2017
1

PEPE
BAILEY ABENDSCHOEN
AKIN GUMP STRAUSS HAUER &amp; FELD LLP
1 BRYANT PARK
NEW YORK, NY 10036-6745
5336946
03/02/2015
1

PERRY
KATHY RENEE
KATHY R. PERRY, ESQ. ATTORNEY AT LAW
PO Box 3176
East Orange, NJ 7019-3176
1693720
08/12/1980
1

PERRYMAN
JUSTIN DAVID
PERRYMAN LAW LLC
119 S MAIN ST
SAINT CHARLES, MO 63301-2802
2713873
12/05/1995
1

PERUYERO
RODRIGO 
URIA MENENDEZ
PRINCIPE DE VERGARA 187
28002 MADRID, SPAIN
4659900
12/15/2008
1

PERUZZI
FRANCESCA 
No Business Address
5742135
12/16/2019
1

PESHEL
ELSBETH THERESE
Elsbeth Peshel, Attorney
3112 Windsor Rd Ste A # 509
Austin, TX 78703-2350
2881837
02/24/1998
1

PESOCHINSKY
ZORISLAV 
Thomson Reuters
747 3rd Ave FL 36
New York, NY 10017-2803
5050927
01/16/2013
2

PETRAUSKAS
JEANNE D.
OFFICE OF COURT ADMIN. BRONX CRIMINAL COURT
25 BEAVER ST
NEW YORK, NY 10004-2310
2309961
12/13/1989
2

PHILIPS
SHAYNA 
No Business Address
5136668
06/17/2013
1

PHILLIPPS
PAUL MICHAEL
Norton Rose Fulbright
1301 Avenue of The Americas
New York, NY 10019-6022
2574234
12/08/1993
2

PICCIOCCHI
MARIANNA 
Cornicello, Tendler, Baumel-Cornicello, LLP
2 Wall St FL 20
New York, NY 10005-2045
4287272
03/09/2005
2

PIEN
LILLIAN L.
No Business Address
5140918
04/08/2013
1

PILLAY
RAVI PRABAKHARAN
CITIZENS BANK, N.A.
437 Madison Ave Floor 18
New York, NY 10173
4737607
06/29/2009
1

PILLEMER
KIM MAXFIELD
NOVOFAM MANAGEMENT LLC
107 GRAND ST FL 7
NEW YORK, NY 10013-5903
3007101
02/28/2000
1

PIMENTA SEIXAS PEREIRA
VINICIUS 
PINHEIRO NETO ADVOGADOS
RUA HUNGRIA, 1100
SAO PAULO 01455000, BRAZIL
5546049
10/23/2017
1

PIZZINGRILLI
PIHRA HOFF
No Business Address
5245501
06/23/2014
1

PLAINE
MOSS JASON
AEGIS CAPITAL CORP.
810 7TH AVE 18TH FL
NEW YORK, NY 10019-5879
2629335
07/18/1994
1

POAKWA
MICHELLE MARY
EPIQ
4 NEW YORK [*26]PLZ
NEW YORK, NY 10004-2413
5180658
12/11/2013
2

POHLKAMP
JOSEPH SEBASTIAN
No Business Address
5208525
01/13/2014
1

POMRANTZ
BRITTA GILMORE
State Bar of California
180 Howard St
San Francisco, CA 94105-1614
4596151
04/23/2008
1

POOL
DANIEL STUART
No Business Address
1800309
05/04/1981
1

PORTA
MARTHA INDIANA
New York City Council
250 Broadway
New York, NY 10007-2516
5029517
04/09/2012
1

POUPARD
ALEXANDRE 
DENTONS EUROPE AARPI
5 BOULEVARD MALESHERBES
75008 PARIS, FRANCE
4638532
10/06/2008
1

POWAR
MADHURANI S.
No Business Address
2154979
12/09/1987
2

PRAGER
JOEL BERNARD
THE AVI CHAI FOUNDATION
1015 PARK AVE
NEW YORK, NY 10028-904
2367738
05/20/1992
2

PRATT
MICHAEL JOSEPH
No Business Address
4970547
09/19/2011
1

PRINCE
CHARLES OWEN
N/A
N/A
New York, NY 10012
4263612
10/04/2004
1

PRITHVIRAJ
MEREDITH 
CELGENE CORPORATION
86 MORRIS AVE
SUMMIT, NJ 7901-3915
4451548
11/14/2006
1

PROKUPETS
MAYYA 
Renew.com Inc.
1411 5th St Ste 300
Santa Monica, CA 90401-2416
5162896
07/01/2013
1

PROVVIDERA
MARCO RENATO
C/O CARLO GIOVANNETTI, ESQ
1 WORLD FINANCIAL CTR FL 27
NEW YORK, NY 10281-1110
2817492
03/24/1997
1

PUN
PAUL JOHN
No Business Address
3023108
01/25/2000
1

PUPKIN
DAVID S.
No Business Address
5630876
06/27/2018
3

PUSTILNIK
AMANDA C.
UNIVERSITY OF MARYLAND SCHOOL OF LAW
500 W BALTIMORE ST
BALTIMORE, MD 21201-1701
4175774
10/30/2003
1

QUAN
HONGXIA 
KPMG LLP
345 Park Ave S
New York, NY 10010-1707
4859740
08/19/2010
3

QUAN
PATRICIA B.
Law Office of Damian Vargas
200 Park Ave FL 17
New York, NY 10166-4
4697421
01/13/2010
2

QUIGG
MATTHEW FLARYS
Patterson Buchanan Fobes &amp; Lietch
1000 2nd Ave FL 30
Seattle, WA 98104-1094
4451530
11/14/2006
1

QUINN
GEORGIA PRUSSELL
CoinList
335 Madison Ave
New York, NY 10017-4611
4627816
07/30/2008
1

RAGO
ALLISON ANN
KPMG LLP
1350 AVENUE OF THE AMERICAS
NEW YORK, NY 10019-4702
5456801
01/23/2017
1

RAMIREZ
CAROLINA 
No Business Address
4808630
02/22/2010
1

RAMSEY
HENRY VAUGHN
TUGGLE DUGGINS PA
PO DRAWER 2888
GREENSBORO, NC 27402
1862432
05/23/1983
1

RANDALL
CHRISTOPHER ROSS
CREDIT SUISSE
11 MADISON AVE
NEW YORK, NY 10010-3643
5561485
05/14/2018
1

RANDALL
DONN ALEXANDER
LOONEY COHEN &amp; AISENBERG, LLP
33 BROAD ST 6TH FL
BOSTON, MA 2109
1613140
06/20/1979
1

RATH
KAUSHIK 
PAUL, WEISS, RIFKIND, WHARTON &amp; GARRISON LLP
2001 K St NW
Washington, DC 20006-1037
4693206
02/23/2009
1

RATNER
SCOTT 
OBB Pictures
155 N LA Peer Dr
West Hollywood, CA 90048-6318
5020409
02/27/2012
1

RAUSCHER
DAVID GRANT
No Business Address
2926657
11/16/1998
1

RAZZANO
SANDRO 
LAW OFFICES OF OMRANI &amp; TAUB, P.C.
909 3RD AVE FL 28
NEW YORK, NY 10022-4731
3930930
03/07/2001
2

RECH
GUSTAV PETER
SOFFER RECH &amp; BORG LLP
48 WALL ST FL 26
NEW YORK, NY 10005-2900
2074961
02/18/1981
4

REDDICK
MELVIN LEE
LAW OFFICE OF MELVIN L. REDDICK
948 ST NICHOLAS AVE
NEW YORK, NY 10032-5204
4353272
10/17/2005
1

REGAN
SELINA ANN
WILLIS OF NEW YORK
1 WORLD FINANCIAL CTR FL 6
NEW YORK, NY 10281-1
2614345
04/27/1994
2

REGEV
ASSAF SIMCHA
No [*27]Business Address
5705173
07/15/2019
1

REGOJO
CRISTINA VICTORIA
FEDERAL DEPOSIT INSURANCE CORP
550 17th St NW Rm F-2041
Washington, DC 20429-2
4249959
07/26/2004
1

REMZ
SANFORD F.
YURKO, SALVESEN &amp; REMZ, P.C.
One Washington Mall FL 11
Boston, MA 2108-2603
1697630
01/14/1980
1

REN
ZHIYI 
PARK PLACE 49/F
1601 WEST NANJING ROAD
SHANGHAI 200040, CHINA
4265435
10/18/2004
1

RESSLER
LIMOR 
BARCLAYS BANK PLC
1 Churchill Place, Level 8
London E14 4BB, UNITED KINGDOM
4079653
09/23/2002
1

RHODES
NAOMI S.
SIMPSON THACHER &amp; BARTLETT LLP
425 LEXINGTON AVE
NEW YORK, NY 10017-3954
2978286
05/24/1999
1

RICHMAN
STEPHANIE 
RUTGERS LAW SCHOOL, CENTER FOR CAREER DEVELOPMENT
123 WASHINGTON ST
NEWARK, NJ 7102-3094
4084547
10/01/2002
1

RICHTER
JAMES 
WINSTON &amp; STRAWN LLP
200 PARK AVE
NEW YORK, NY 10166-5
5648829
10/23/2018
1

RITTINGER
CHRISTOPHER 
AIG
32 OLD SLIP, 21ST FL
NEW YORK, NY 10005
3037066
11/15/2000
2

RIVELIS
LESTER ERWIN
Lester Rivelis
1065 Avenue of The Americas FL 7
New York, NY 10018-828
1502129
03/01/1978
2

RIVERA
CHRISTINA M.
LAW OFFICE OF CHRISTINA M. RIVERA, ESQ.
528 26TH ST APT 1A
UNION CITY, NJ 7087-3888
4517785
07/23/2007
1

RIVLIN
KEREN ZIPORA
Judd Shaw Personal Injury Law
1161 Broad St Ste 314
Shrewsbury, NJ 7702-4362
4321865
05/09/2005
1

RIVLIN
SARIT 
No Business Address
2592533
01/10/1994
1

ROBBINS
BARBARA 
Retired - WACHTELL, LIPTON, ROSEN &amp; KATZ
51 W 52nd St
New York, NY 10019-6119
1851377
03/21/1983
1

ROBERTSON
AMY LOUISE
No Business Address
5523246
07/17/2017
1

ROBINSON
KYANA RASHAUN
Kyana R. Robinson, PC
1629 K St NW Ste 300
Washington, DC 20006-1631
4545513
11/14/2007
1

RODRIGUES LISBOA
MANUELA 
MACHADO MEYER SENDACZ E OPICE ADVOGADOS
AV. BRIGADEIRO FARIA LIMA NO 3144
SAO PAULO SP 01451000, BRAZIL
5286661
09/29/2014
1

RODRIGUEZ, III
SABINO 
DAY PITNEY LLP
7 Times Sq FL 20
New York, NY 10036-6553
1200260
04/09/1979
1

ROER
URI JOSHUA
The Law Offices of Uri J. Roer, L.L.C.
79 Main St Ste 1
Hackensack, NJ 7601-8101
5480165
12/12/2016
1

ROGLER
LLOYD CHARLES
ADMINISTRATION FOR CHILDRENS SVCS
150 WILLIAM ST15TH FL
NEW YORK, NY 10038-2603
2502557
09/21/1992
1

ROKU
HASERU 
No Business Address
5747100
11/18/2019
1

ROLLIN
CAMILLE BENEDICTE MARIE
No Business Address
5755996
11/18/2019
1

ROMANO
STEPHEN JOHN
AIG
175 Water St FL 11
New York, NY 10038-4918
4208914
04/21/2004
2

ROMANOFF
MARC R.
GOLDMAN SACHS &amp; CO.
200 WEST ST
NEW YORK, NY 10282-2102
4396024
07/26/2006
2

RONAN
COLIN CHRISTOPHER
BROWN BROTHERS HARRIMAN &amp; CO.
140 BROADWAY
NEW YORK, NY 10005-1108
5583984
03/07/2018
2

ROSENKRANZ
STEPHANIE HILL
No Business Address
4173282
10/09/2003
1

ROSENTHAL
ROSANNA SERVIDIO
WHITMAN BREED ABBOTT &amp; MORGAN LLC
500 W PUTNAM AVE
GREENWICH, CT 6830-6086
4825212
04/07/2010
1

ROSHA
UZI 
HUDSON ADVISORS LP
2711 N HASKELL AVE
DALLAS, TX 75204
4231593
05/10/2004
1

ROSS
JENNIFER LISA
No Business Address
2882835
03/02/1998
1

ROTENBERG
MATHEW 
AKIN, GUMP, STRAUSS, HAUER &amp; FELD LLP
1 BRYANT PARK
NEW YORK, NY 10036-[*28]6728
5215694
05/21/2014
2

ROZIER-BYRD
TREVOR LAMONT
State Street Bank and Trust Company
1 Lincoln St
Boston, MA 2111-2901
4937777
06/20/2011
1

RUBEL
TODD ROBERT
No Business Address
5199963
01/13/2014
1

RUBIN
DAVID 
No Business Address
5660527
04/08/2019
1

RUBIN
LINA 
UBS
1285 AVENUE OF THE AMERICAS
NEW YORK, NY 10019-6031
3998671
10/15/2001
1

RUDOLPH
ERIK HUGH
No Business Address
2322451
01/22/1990
1

RUESCH
MATTHEW JOSEF
Broad Creek Capital
300 Park Ave
New York, NY 10022-7402
4852224
06/28/2010
1

RUPLIN
HOPI COSTELLO
Larkins Vacura Kayser LLP
121 SW Morrison St Ste 700
Portland, OR 97204-3183
5557772
11/20/2017
1

RUSKIN
DANIELE 
ANTHEM
9 PINE ST
NEW YORK, NY 10005-4701
2335222
03/05/1990
1

RUSSAKOFF
ADAM HEATH
ADAM HEATH RUSSAKOFF ESQ.
5941 PINE TREE DR
MIAMI BEACH, FL 33140
2825792
05/12/1997
1

RUSSELL
DANIEL JAMES
IMENTOR
60 BROAD ST
NEW YORK, NY 10004-2306
5724133
06/26/2019
3

RUTH
MELISSA MARTHA
No Business Address
4356531
10/25/2005
1

SABEL
BRADLEY KENT
SHEARMAN &amp; STERLING
599 LEXINGTON AVE
NEW YORK, NY 10022-6030
1094952
03/15/1976
1

SADIGHI
ALEXANDER ESKANDAR
Dune Real Estate Partners
640 5th Ave
New York, NY 10019-6102
5059738
01/14/2013
1

SAE
CHRISTIAN CHAYCE
KING &amp; SPALDING LLP
1185 Avenue of The Americas
New York, NY 10036-2601
5508908
06/19/2017
1

SAGAR
SIBONEY 
A-3 (3RD FLOOR)
DEFENCE COLONY
NEW DELHI 110-024, INDIA
4068839
07/01/2002
1

SAITO
MAKOTO 
JPMorgan
One Island East, 33F
18 Westlands Road, Island East
Hong Kong, HONG KONG
4627865
07/25/2008
1

SALIMI
SAHBA 
No Business Address
4234308
07/21/2004
2

SAMNICK
JONATHAN EVAN
CREATIVE TIES, INC.
241 S Reeves Dr Ste 203
Beverly Hills, CA 90212-4047
2592962
01/10/1994
1

SANBORN
JAMES E.
Nicole J. Coward PLLC
8 W 126th St FL 3
New York, NY 10027-3811
5124011
02/04/2013
1

SANCHEZ
MATILDE BERRIOS
Bronx County Public Administrator
851 Grand Concourse, Room 336
Bronx, NY 10451
2220333
09/20/1988
1

SANGHAVI
NEHAL BHARAT
Sr. Advisor for Innovation and Partnership, USAID India
9002 New Delhi Pl Apt 39
Dulles, VA 20189-9002
2989291
07/12/1999
1

SAPIR
YOAV 
NATIONAL PUBLIC DEFENDER OFFICE
4 SOLDE ST
TEL-AVIV, ISRAEL
4241576
06/03/2004
1

SATO
TAKEFUMI 
NISHIMURA &amp; ASAHI
OTEMON TOWER
1-1-2 OTEMACHI, CHIYODA-KU
TOKYO 100-8124, JAPAN
4130340
03/21/2003
1

SAUER
KRISTEN KATHARINE
No Business Address
2784130
11/25/1996
1

SAVARY
MIKHAILE PHILIPPE
Mountain Professional Services Group, LLC
460 S Spring St Ste 1213
Los Angeles, CA 90013-2005
4952917
06/20/2011
1

SAWYERR
VALERIE ESTHER
VSAWYERR CONSULT
NO. 10 MISSION STREET
KUKUHILL, OSU
ACCRA, GHANA
2929842
12/07/1998
1

SCHER
DAVID BENJAMIN
No Business Address
4421640
10/25/2006
2

SCHEUERMAN
KARL ERIC
WARNER &amp; SCHEUERMAN
6 W 18TH ST FL 10TH
NEW YORK, NY 10011-4608
2539245
04/14/1993
2

SCHINDEL
JONATHAN BARTH
THE ARMORY FOUNDATION
216 FORT WASHINGTON AVE
NEW YORK, NY 10032-1322
2473023
03/02/1992
1

SCHIRO
THOMAS JOHN
Belluck Fox LLP
546 5th Ave FL 5
New York, NY 10036-5000
5306998
01/12/2015
1

SCHMADEKE
ROBERT THEODORE
No Business Address
5181953
10/28/2013
1

SCHROEDER
JAMES CORWIN
No Business Address
1142298
04/09/1979
1

SCHULTE
KATHERINE FELICE
No Business Address
4681375
02/02/2009
1

SCHUR
JESSICA MICHELE
No Business Address
4528105
07/30/2007
1

SCHWARK
THOMAS MATHER
No Business Address
2741197
03/04/1996
1

SCHWARTZ
ALLAN CHARLES
Podell Schwartz Schechter &amp; Banfield LLP
605 3rd Ave FL 18
New York, NY 10158-1899
1396951
01/28/1974
1

SCHWARTZ
DAVID M.
TOWN HOUSE MANAGEMENT
330 W 45TH ST
NEW YORK, NY 10036-3853
2399053
02/04/1991
1

SCHWARZ
JENNIFER BLUMENFELD
No Business Address
4162590
08/07/2003
1

SECATORE
DANIEL RICHARD
JP MORGAN CHASE
4 New York Plz FL 9
New York, NY 10004-2413
5270350
11/12/2014
2

SECOR
THOMAS NEALE
Morningside Heights Capital
549 W 123rd St Apt 16F
New York, NY 10027-5040
3060050
06/12/2000
1

SEIGEL
CHARLES J.
Lazarus, Karp &amp; Kalamotousakis, LLP
7 Penn Plz Ste 720
New York, NY 10001-15
1729912
06/01/1981
1

SELBST
VANESSA 
RANKIN &amp; TAYLOR
11 PARK PL
NEW YORK, NY 10007-2801
5439062
09/21/2016
2

SEMENIUK
PIOTR PAWEL
NOWOLIPKI 32/39 STREET
01-019 WARSZAWA (WARSAW), POLAND
5285440
09/08/2014
1

SEMMEL
JASON P.
149 E 23rd St Unit 1869
New York, NY 10159-9664
2920866
09/28/1998
1

SENBANJO
OLAITAN BABAJIDE
No Business Address
3949773
03/05/2001
1

SEOW
WAN JUN 
No Business Address
5463385
09/12/2016
1

SETHI
ARJUN SINGH
No Business Address
4735353
06/23/2009
1

SETTLE
NANCY ELIZABETH
NANCY E. SETTLE, ESQ.
216 E 75TH ST
NEW YORK, NY 10021-2921
2018018
09/24/1985
3

SHAFFER
JUSTIN BLAKE
No Business Address
5716410
09/11/2019
2

SHAH
SONAL 
Ark Restaurant Corp.
85 5th Ave FL 14
New York, NY 10003-3019
4440962
09/11/2006
1

SHANNON, JR
ROBERT VINCENT
IQ PC
535 5TH AVE FL 8TH
NEW YORK, NY 10017-3620
2872422
05/20/1998
2

SHAPIRO
GARY D.
No Business Address
4554218
12/10/2007
1

SHAPIRO
ZACHARY EVAN
No Business Address
5699715
04/08/2019
1

SHARP
RICHARD T.
MILBANK LLP
55 HUDSON YARDS
NEW YORK, NY 10001-2163
1948710
10/01/1984
1

SHEEHAN
MATTHEW C.
No Business Address
5194477
11/18/2013
1

SHER
LAURA E.
EPIX ENTERTAINMENT LLC
260 MADISON AVE FL 9
NEW YORK, NY 10016-2416
4008884
11/14/2001
1

SHERIDAN
ELIZA MARGARET
COHEN &amp; GRESSER LLP
800 3RD AVE
NEW YORK, NY 10022-7649
5551098
10/04/2017
2

SHI
JINGNAN 
No Business Address
5732151
11/13/2019
2

SHIFREN
DAVID E.
Otterstedt, Ellenbogen &amp; Kammer, LLP
30 Buxton Farm Rd Ste 125
Stamford, CT 6905-1224
4510426
05/15/2007
1

SHIN
CHRISTINE 
Latham &amp; Watkins
355 S Grand Ave Rm 6015
Los Angeles, CA 90071-1560
4616157
07/01/2008
1

SHIRAIWA
TERUHISA 
FUJITSU LABORATORIES LTD.
R&amp;D MANAGEMENT OFFICE
1-1, KAMIKODANAKA, NAKAHARA-KU
KAWASAKI, 211-8588, JAPAN
2816148
03/18/1997
1

SHOEMAKER
DAVID MICHAEL
NBA China
79 Jianguo Road, Tower 2, 19th Floor
Beijing 100025, CHINA
2887693
03/23/1998
1

SHULMAN
CARREN 
No Business Address
2474914
03/31/1992
3

SHUSTER
KEREN 
No Business Address
4574307
01/29/2008
1

SIEGAL-MILLER
JENNIFER LEE
HENDERSON, FRANKLIN, STARNES &amp; HOLT, P.A.
8889 PELICAN BAY BLVD STE 400
NAPLES, FL 34108
3936192
05/14/2001
1

SILIS
THOMAS PETER
113 SOUTH ALFRED ST
ALEXANDRIA, VA 22314
3897386
10/16/2000
1

SILVA
FABIO ROMAN
FRSilva Law
336 E Fairview Blvd
Inglewood, CA 90302-1328
5523311
06/19/2017
1

SIMON
SUZETTE 
425 E 58TH ST STE 7A
NEW YORK, NY 10022-2300
2362259
08/06/1990
1

SINCLAIR
YASMIN ASHLEY
American Express
200 Vesey St
New York, NY 10281-1013
5339916
05/20/2015
2

SINGER
JILLIAN MICHELE
Ingram Yuzek Gainen Carroll &amp; Bertolotti
250 Park Ave FL 6
New York, NY 10177-1
5016605
04/18/2012
2

SITTNICK
CYNTHIA M.
Office of the Special Narcotics Prosecutor
1 HOGAN PL, Room 754
NEW YORK, NY 10013-4311
1742972
06/01/1981
1

SIYAM
SAMAR 
CHASAN LEYNER &amp; LAMPARELLO, PC
325 5TH AVE APT 29D
NEW YORK, NY 10016-5043
4779542
01/21/2010
3

SMITH
DEVEN ANDREW
NEW YORK CITY LAW DEPARTMENT
100 CHURCH ST
NEW YORK, NY 10007-2601
4507208
05/15/2007
1

SMITH
DORIAN ZODY
Mercer
1166 Avenue of The Americas FL 34
New York, NY 10036-2720
2982833
06/14/1999
1

SMITH
GEORGE KIMBALL
Wilson, Sonsini, Goodrich &amp; Rosati, L.P.
900 S Capital of Texas Hwy FL 5
West Lake Hills, TX 78746-5469
5461876
09/12/2016
1

SMITH
MEGAN SHANNON
390 MADISON AVE
NEW YORK, NY 10017-2513
4737300
06/08/2009
1

SMOLER
ARLENE R.
OFFICE OF THE ATTORNEY GENERAL
28 Liberty St FL 18
New York, NY 10005-1495
2251726
02/06/1989
1

SNYDER
GINA R.
No Business Address
2337608
03/20/1990
1

SNYDER
JENNIFER L.
9 CROWNING DR
ASHEVILLE, NC 28804
5079587
10/15/2012
1

SOH
ANDY YAN LEE
No Business Address
4574398
02/04/2008
1

SOHN
FRANCIS 
Saudi Aramco
Tower Administration Building
Room TN-110-7
Dhahran 31311, SAUDI ARABIA
5192885
11/18/2013
1

SOHN
YOUNGJIN 
Kim &amp; Chang
39 Sajik-ro 8-gil, Jongno-Gu
Seoul, KOREA
2820066
04/14/1997
1

SOHNE
ESTELLE M.
No Business Address
4352407
10/12/2005
1

SONG
JUNGWOO 
DONLIN RECANO &amp; COMPANY, INC.
48 Wall St
New York, NY 10005-2903
4855656
07/21/2010
1

SPENCE
ADELAIDE A.V.
NEW YORK CITY POLICE DEPARTMENT
1 POLICE PLZ
NEW YORK, NY 10038-1403
4964904
10/19/2011
2

SPLICHAL
CLARK SIGMAN
COZEN O'CONNOR
200 S Biscayne Blvd
Miami, FL 33131-2310
5494547
01/23/2017
1

STAHLY-BUTTS
MARBRE CARYN
Law for Black Lives
45 W 36th St FL 6
New York, NY 10018-7635
5517586
03/30/2017
3

STANISZEWSKI
PETER CHRISTOPHER
HWL EBSWORTH LAWYERS
LEVEL 21, WESTPAC HOUSE
91 KING WILLIAM STREET
ADELAIDE 5000, AUSTRALIA
4560637
12/10/2007
1

STAUBER
DEBRA 
No Business Address
2351542
05/07/1990
1

STECKMAN
ROBERT MARC
LAW OFFICE OF ROBERT STECKMAN, P.C.
111 JOHN ST RM 800
NEW YORK, NY 10038-3180
2990141
09/15/1999
2

STEIN
TOBIAS SAMUEL
AMINO APPS
6 W 18TH ST, 3RD FL
NEW YORK, NY 10011-4639
5561014
01/31/2018
2

STEINBACK
RACHEL 
Law Office of Rachel Steinback
PO Box 291253
Los Angeles, CA 90029-9253
4689766
02/09/2009
1

STEINBERG
TARA 
No Business Address
4834230
04/26/2010
1

STEINBOCK
SAMUEL FORD
Silberman School of Social Work
2180 3rd Ave
New York, NY 10035-4003
5515770
08/02/2017
2

STELLINGS
BRANDE MARIE[*29]
No Business Address
2609915
03/14/1994
1

STERNSTEIN
MALANI JAN
SHEPPARD MULLIN RICHTER &amp; HAMPTON LLP
30 Rockefeller Plz
New York, NY 10112-15
4091328
01/08/2003
2

STEWART
JOHN GILLESPIE
University of London
Senate House, Lower Ground Floor
Malet Street
LONDON WC1E 7HU, UNITED KINGDOM
1778679
03/22/1982
1

STIEFEL
SHARON NICOLE
NEW YORK CITY LAW DEPARTMENT
100 CHURCH ST
NEW YORK, NY 10007-2601
4464640
01/24/2007
2

STRAUSS
MATTHEW PERRY
New York City Department of Citywide Administrative Services
1 Centre St Ste 1900
New York, NY 10007-1602
5196837
04/30/2014
2

STULL
PHILIP TOBIAS
Law Offices of Tobias Stull
115 Roast Meat Hill Rd
Killingworth, CT 6419-1424
4598546
04/28/2008
1

SUFFIR
GARY B
EPIQ
777 3rd Ave FL 12
New York, NY 10017-1302
4216537
03/01/2004
1

SUGARMAN
DANIELLE TAMAR
BLACKROCK, INC.
55 E 52ND ST
NEW YORK, NY 10055-2
4414660
06/27/2006
3

SUGARMAN
RENAN I.
RENAN SUGARMAN, P.C. ATTORNEY AT LAW
30 N LA Salle St Ste 2040
Chicago, IL 60602-3355
1981430
03/25/1985
1

SULLIVAN
DANIELLE LYN
Charles Taylor Adjusting
180 Maiden Ln Ste 6a
New York, NY 10038-5171
2984912
06/14/1999
1

SUMNER
BRIAN TAYLOR
No Business Address
5140876
04/29/2013
1

SUTCLIFFE
KIRSTIN LAURENCE
INDEPENDANT CONSULTANT
8 PENT RD
WESTON, CT 6883-1311
4159026
07/18/2003
1

SUTTON
RALPH J.
LAW OFFICES OF RALPH J. SUTTON
10 W 66th St Ste 16j
New York, NY 10023-6206
3949005
02/27/2001
1

SWEENEY
ANN CHRISTIE
BROADCAST MUSIC, INC
250 Greenwich St
New York, NY 10007-2140
2040301
03/19/1986
2

TABAH
AGNES 
NATIONAL GEOGRAPHIC SOCIETY LEGAL &amp; BUSINESS AFFAIRS
1145 17TH ST NW
WASHINGTON, DC 20036-4707
2115996
01/12/1987
1

TADAYON
ELMIRA 
No Business Address
5703830
05/13/2019
1

TALMA
NICOLE ANNINE
No Business Address
4227583
04/19/2004
1

TANG
KATHLEEN YUNYUN
DAVIS POLK &amp; WARDWELL
450 LEXINGTON AVE
NEW YORK, NY 10017-3904
5513494
04/10/2017
1

TEICH
RUBY SUSAN
No Business Address
2601615
01/31/1994
1

TEITZ
COREY PATRICK
BARRY MCTIERNAN &amp; MOORE LLC
2 Rector St FL 14
New York, NY 10006-1847
5470109
11/21/2016
1

TEMPLE
IRIS 
No Business Address
2206712
06/13/1988
1

TEMPONGKO
PIA KATERINA
No Business Address
5252499
06/23/2014
1

TERRY
KEEVA LYNNE
HOWARD UNIVERSITY SCHOOL OF LAW
2900 VAN NESS ST NW
WASHINGTON, DC 20008
2988715
07/12/1999
1

TEXIER
CAROLINE 
GIDE LOYRETTE NOUEL
22 COURS ALBERT 1ER
75008 PARIS, FRANCE
4066445
07/01/2002
1

THALER
DAVID ALAN
FEDERAL MEDIATION &amp; CONCILIATION SERVICE
517 US HIGHWAY 1 S STE 2104
ISELIN, NJ 8830-3057
2621944
06/06/1994
1

THAU
DAVID IAN
Practising Law Institute
1177 Avenue of The Americas
New York, NY 10036-2714
5129424
12/08/2014
1

THOMASMA
DANIELLE NICOLE
WILLKIE FARR &amp; GALLAGHER
787 7th Ave
New York, NY 10019-6099
5413877
01/21/2016
3

THOMPSON
LARRY EUGENE
THE DEPOSITORY TRUST &amp; CLEARING CORPORATION
55 WATER ST
NEW YORK, NY 10041-4
1257666
07/07/1977
1

THURSTON
LERONE MONTAIGNE
No Business Address
2921369
09/28/1998
1

TIMKO
LAURA LEE 
KIRKLAND &amp; ELLIS LLP
601 Lexington Ave
New York, NY 10022-4611[*30]
5336151
06/10/2015
2

TOBIN
JAMES J.
ERNST &amp; YOUNG
5 TIMES SQ
NEW YORK, NY 10036-6527
3788395
06/20/1979
2

TONER
KEVIN JOSEPH
Kevin Toner, Esq.
1120 Park Ave
New York, NY 10128-1242
2129435
04/13/1987
1

TOUTOUNJI
SAMI LUCIEN
SHEARMAN &amp; STERLING
7 RUE JACQUES BINGEN
75017 PARIS 17, FRANCE
2380012
12/03/1990
1

TRACHT
MARSHALL E.
NEW YORK LAW SCHOOL
185 W BROADWAY
NEW YORK, NY 10013-2921
5158068
06/26/2015
2

TRAJTENBERG
CINTHIA JUDITH
Hotel Tonight, Inc.
901 Market Street
San Francisco, CA 94103
4209060
02/10/2004
1

TREADWELL
SHAWN LAMONT
Omnivere LLC
228 E 45th St
New York, NY 10017-3303
2920833
09/24/1998
1

TREDOUX
PIETER JOHANNES
Law Office of PIETER TREDOUX
250 Park Ave Ste 700
New York, NY 10177-1
2250181
01/24/1989
3

TRELOAR
JOSEPH WILLIAM
HAUG PARTNERS LLP
745 5TH AVE FL 9
NEW YORK, NY 10151-99
4323358
05/09/2005
1

TRICHTER
NANCY JANE
Nancy J. Trichter, Esq.
70 W 95th St Apt 6b
New York, NY 10025-6747
2301570
05/15/1978
1

TRIVEDI
SOMIL BHARAT
American Civil Liberties Union Foundation
915 15th St NW
Washington, DC 20005-2302
4834495
04/26/2010
1

TRUCHARD
ANTHONY MARIE
TRUCHARD VINEYARDS
3234 Old Sonoma Rd
Napa, CA 94559-9701
4338661
07/07/2005
1

TSUBOTA
YOTARO 
MITSUBISHI CORPORATION (AMERICAS)
655 3RD AVE
NEW YORK, NY 10017-5621
5610209
05/30/2018
2

TYLIS
ALBERT 
111 W 67TH ST APT 25DH
NEW YORK, NY 10023-5956
3064607
07/10/2000
1

TYRER
SEAN DANIEL
PRICEWATERHOUSECOOPERS LLP
1 Embankment Place
LONDON WC2N 6RH, UNITED KINGDOM
5378567
10/26/2015
1

UMEZU
AYA 
Minamiazabu 4-4-10-212
Minatoku, JAPAN
4291159
01/04/2005
1

UNGER
MICHAEL E.
FREEHILL HOGAN &amp; MAHAR LLP
80 PINE ST
NEW YORK, NY 10005-1702
2454585
03/25/1992
2

UNROE
BRIAN DAYTON
8902 BELLEFONTE RD
HENRICO, VA 23229
3067873
07/24/2000
1

URUETA
PAMELA 
AXA EQUITABLE
1290 AVENUE OF THE AMERICAS
NEW YORK, NY 10104-101
4049656
05/21/2002
3

VAGNUCCI
R MICHAEL
FINRA
15200 Omega Dr Ste 300
Rockville, MD 20850-2957
3996758
09/17/2001
1

VALENTE
STEPHEN MICHAEL
STEPHEN M. VALENTE, ESQ.
136 Hale St
Newburyport, MA 1950-3514
2990760
07/27/1999
1

VAN DAM
MARLINE ROSE
No Business Address
2223972
10/31/1988
1

VAN DE WALLE
CARLA 
No Business Address
2680452
04/10/1995
1

VAN GERVEN
DIRK 
NAUTADUTILH
CHAUSSEE DE LA HULPE 120
BRUSSELS 1000, BELGIUM
2292035
08/22/1989
1

VAN VACTOR
HADLEY HOWELL
Lewis &amp; Clark Law School
10015 SW Terwilliger Blvd
Portland, OR 97219-7768
4312286
03/29/2005
1

VAZ
MARCELA TAQUETTE
Avenida Rio Branco 181
27th Floor
Rio de Janeiro, BRAZIL
5164876
07/08/2013
1

VEGA
LISA VICTORIA
FEDERAL BUREAU OF INVESTIGATION
26 FEDERAL PLZ
NEW YORK, NY 10278-4
5501200
04/26/2017
2

VIDTS
FRANCOISE 
MATRAY, MATRAY &amp; HALLET
ALLEE DU CLOITRE, 7
1000 BRUXELLES, BELGIUM
2797983
01/13/1997
1

VILLOCH
DANIELLE MARIE
GIBSON, DUNN &amp; CRUTCHER LLP
200 PARK AVE
NEW YORK, NY 10166-5
5002027
07/02/2012
1

VINCENT
ERIC N.
Mubadala Capital
350 Park Ave FL 13
New York, NY 10022-6140
2477461
03/23/1992
1

VINOGRAD
JAMES MATHEW
270 PARK AVENUE, 18TH FLOOR
NEW YORK, [*31]NY 10017-2014
4420485
06/05/2006
1

VOGELSANG
PETER ROCKWELL
OPPENHEIMER &amp; CO. INC.
85 BROAD ST
NEW YORK, NY 10004-2434
2213445
07/11/1988
1

VOGT
DAVID MICHAEL
No Business Address
4113718
01/13/2003
1

VOLDSTAD
MICHAEL 
CHAPMAN &amp; CUTLER LLP
1270 AVENUE OF THE AMERICAS
NEW YORK, NY 10020-1700
1069491
05/01/1973
2

WAGNER
ANN HAZEL
No Business Address
2904118
06/09/1998
1

WALDRON
WENDY REBECCA
U.S. DEPARTMENT OF JUSTICE, CCIPS
1301 New York Ave NW
Washington, DC 20530-16
4207494
02/05/2004
1

WALKOW
ALAN NATHAN
Walkow Law Office LLC
246 Monmouth Rd
Oakhurst, NJ 7755-1503
3996527
10/02/2001
1

WALL
JONATHAN MAURICE
PAUL, WEISS, RIFKIND, WHARTON, &amp; GARRISON LLP
1285 Avenue of The Americas
New York, NY 10019-6031
5552005
11/16/2017
3

WALLACE
RICHARD LEE
RICHARD LEE WALLACE
88 Morningside Dr
New York, NY 10027-7125
1132505
03/25/1974
1

WALLACE
SHAKIRA K.
DECHERT LLP
1095 Avenue of The Americas
New York, NY 10036-6797
5531611
09/13/2017
2

WALLI
MARK E
STIKEMAN ELLIOTT, LLP
5300 COMMERCE COURT WEST
199 BAY STREET
TORONTO, ONTARIO M5L 189, CANADA
3958733
04/02/2001
1

WALSH
MICHELLE AUDREY
BLOOMBERG LP
731 Lexington Ave
New York, NY 10022-1331
4125357
03/03/2003
1

WANG
CHAO 
WILSON SONSINI GOODRICH &amp; ROSATI
UNIT 2901 29F,TOWER C, BEIJING YINTAI CENTRE
NO. 2 JIANGUOMENWAI AVE CHAOYANG
BEIJING 100022, CHINA
5620166
07/17/2018
1

WATANABE
NOBUYUKI 
TMI ASSOCIATES
23 FLOOR ROPPONGI HILLS MORI TOWER
6-10-1 ROPPONGI MINATO-KU
TOKYO 106-6123, JAPAN
4534244
09/10/2007
1

WATERMAN
BRIAN MICHAEL
C/O MONKS O'NEIL DEVELOPMENT
1 CITY CTR FL 4
PORTLAND, ME 4101-6408
5325659
03/30/2015
1

WATT
AUDREY VERONA
Providence Health
1801 Lind Ave SW
Renton, WA 98057-3368
2855013
11/24/1997
1

WATTENBARGER
JOEL ANDREW
ROPES &amp; GRAY LLP
1211 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-8701
5048277
10/24/2012
2

WEINBERG
DINA NICHOLE
No Business Address
4368254
12/12/2005
1

WEINSTEIN
STEPHEN HOWARD
RenaissanceRe Holdings Ltd.
Renaissance House
12 Crow Lane
Pembroke HM19, BERMUDA
2710572
10/30/1995
1

WEISS
ANNA B.
No Business Address
2776094
09/16/1996
1

WELLS
PHILLIP MITCHELL
No Business Address
4849139
06/28/2010
1

WENGER
DAVID S.
David Wenger, Esq.
85 Broad St FL 28
New York, NY 10004-2783
4521456
06/20/2007
1

WESLEY
MATTHEW RICHARD
COLLER CAPITAL
950 3rd Ave FL 29
New York, NY 10022-2841
5033477
04/09/2012
1

WESSELY
ANDREAS HARALD
Dr. Andreas Wessely
Porzellangasse 44-46, Top 10
1090 Vienna, AUSTRIA
4703955
03/23/2009
1

WESSELY
ROBERT P.
GREENSPOON MARDER, LLP
590 MADISON AVE FL 18
NEW YORK, NY 10022-2545
1578905
03/01/1976
1

WESTBROOK
JESSICA MICHELLE
AKIN GUMP STRAUSS HAUER &amp; FELD LLP
1 BRYANT PARK
NEW YORK, NY 10036-6728
4341087
07/20/2005
3

WHEATON
JILL MARGARET
DYKEMA GOSSETT
2723 S. STATE ST STE 400
ANN ARBOR, MI 48104
2391563
01/14/1991
1

WHELAN
JOSEPH D.
WHELAN CORRENTE &amp; FLANDERS LLP
100 Westminster St Ste 710
Providence, RI 2903-2394
2708667
10/11/1995
1

WHITE
ADAM JASON
GTM
3200 Bristol St Ste 300
Costa Mesa, CA 92626-1838
4704243[*32]
03/20/2009
1

WIDEMAN
JAMILA ANN
National Basketball Association
645 5th Ave
New York, NY 10022-5910
4643524
12/10/2008
3

WILL
ILANA 
408 E 92ND ST APT 7C
NEW YORK, NY 10128-6831
4638896
10/07/2008
1

WILSON
ANDREA NIXON
ALSTON &amp; BIRD LLP
90 PARK AVE
NEW YORK, NY 10016-1301
5545314
10/25/2017
2

WILSON
LEANNE MARIE
Sculptor Capital Management
9 W 57th St FL 40
New York, NY 10019-2701
4667465
01/06/2009
1

WILSON
RICHARD GREGORY
MASLON EDELMAN BORMAN &amp; BRAND
3300 WELLS FARGO CTR
MINNEAPOLIS, MN 55402
1721471
04/06/1981
1

WITTER
TREMAINE 
164 E 37TH ST APT 1B
NEW YORK, NY 10016-3130
5261631
12/03/2014
2

WOLF
EMILY B.
Kushner Companies
666 5th Ave
New York, NY 10103-1
4133419
07/23/2003
2

WOLOSKI
ANDREA 
No Business Address
5009444
01/19/2012
3

WONTOREK
MARC THOMAS
MARC T WONTOREK ESQ
275 W 261st St
Bronx, NY 10471-1174
2640340
10/18/1994
3

WOOLAMS
JACK 
JACK V WOOLAMS ESQ
135 W 81ST ST
Street Level Gate Entrance
NEW YORK, NY 10024-7201
1001668
07/11/1978
1

WOOLMAN
STUART CRAIG
SCHOOL OF LAW
UNIVERSITY OF THE WITWATERSRAND
PO BOX 2193
JOHANNESBURG, SOUTH AFRICA
2502821
09/15/1992
1

WORNOW
BRIAN S.
140 W 69TH ST APT 95A
NEW YORK, NY 10023-5170
2651677
03/15/1995
2

WU
QIONGJIE 
JINCHENG TONGDA &amp; NEAL
10thFloor, China World Tower A
No. 1Jianguo Menwai Avenue
Beijing 100004, CHINA
5465943
09/12/2016
1

XIA
BUXIAN 
PPG Industries
25F, 1118 West Yan An Road, Shanghai 200052
China, CHINA
4190013
12/11/2003
1

YACKER
BRETT DAVID
No Business Address
2309243
04/24/1974
2

YANG
JOAN JOSEPHINE
PEW ENVIRONMENTAL GROUP
901 E. ST, NW
WASHINGTON, DC 20004
2751410
04/15/1996
1

YANG
RUI 
NORTON ROSE FULBRIGHT LLP (SHANGHAI OFFICE)
27F, PLAZA 66 II,
1266 NANJING ROAD WEST, JING AN DISTRICT
SHANGHAI 200040, CHINA
3950961
03/05/2001
1

YANG
XUSHENG 
SUITE 3501 CHINA WORLD TOWER 2
NO 1 JIAN GUO MEN WAI AVENUE
BEIJING 100004, CHINA
2958072
06/14/1999
1

YE
TAOYE 
HAIWEN LAW FIRM
ROOM 2605, 26TH FLOOR
1515 WEST NANJING ROAD
SHANGHAI, CHINA
5027776
05/14/2012
1

YONIS
ROBIN SUE
PACIFIC LIFE INSURANCE COMPANY
700 NEWPORT CENTER DR
NEWPORT BEACH, CA 92660-6307
1671304
03/11/1980
1

YOUN
MONICA YOUNGNA
150 NASSAU ST APT 13B
NEW YORK, NY 10038-1546
3894979
10/24/2000
3

YOUNG
PIERCE W.
Allen &amp; Overy
1221 Avenue of The Americas
New York, NY 10020-1001
5718390
06/24/2019
1

YU
HUALIANG 
Jincheng Tongda &amp; Neal Law Firm
10th Floor China World Tower 3
No. 1 Jianguo Menwai Avenue
Beijing, CHINA
4340105
07/11/2005
1

YUEN
VERONICA M.
Seltzer Law Group P.C.
125 Maiden Ln Ste 507
New York, NY 10038-4912
1858596
03/23/1983
2

YUN
SEONG UN
BAE, KIM &amp; LEE LLC
133 TEHERAN-RO, GANGNAM-GU
SOUL 06133, REPUBLIC OF KOREA
4646295
11/18/2008
1

ZAP
STEPHEN LAWRENCE
STEPHEN L ZAP ESQ
300-797 PRINCESS ST
KINGSTON ONTARIO K7L 1G1, CANADA
1715010
03/16/1981
1

ZHANG
CHUAN ZHENG 
CHINA INTERNATIONAL CAPITAL CORPORATION
28TH FLOOR, CHINA WORLD OFFICE 2
NO. 1 JIAN GUO MEN WAI AVENUE
BEIJING 100004, CHINA
5142633
06/17/2013
1

ZHANG
JINEN 
20/F Fortune Financial Center[*33], 5 Dong San Huan Rd.
CHAOYANG DISTRICT
BEIJING 100020, CHINA
5149224
06/17/2013
1

ZHANG
MENGQI 
SKADDEN, ARPS, SLATE, MEAGHER &amp; FLOM
42/F, EDINBURGH TOWER, THE LANDMARK
15 QUEEN'S ROAD CENTRAL
HONG KONG, HONG KONG
5517024
05/22/2017
1

ZHAO
WENTING 
Zhao Wenting
36F SK Tower, 6A Jianguomenwai Avenue
Chaoyang District, Beijing, China, 100022
Beijing, CHINA
5732433
11/18/2019
1

ZHARKOVSKY
DANIEL 
AIG
175 Water St
New York, NY 10038-4918
5046313
05/14/2012
1

ZHOU
JIMMY 
Law Office of Jimmy Zhou
330 Washington St # 259
Hoboken, NJ 7030-4883
5397898
01/11/2016
1

ZHU
QINGZHEN 
Mayer Brown LLP
1221 Avenue of The Americas
New York, NY 10020-1001
5620190
06/19/2018
1

ZIBA
AICHA SARAH
GOLDMAN SACHS &amp; CO.
200 West St
New York, NY 10282-2102
5268123
09/30/2015
2

ZIMILES
ELLEN S.
NAVIGANT
685 3RD AVE FL 14
NEW YORK, NY 10017-4138
1927110
06/04/1984
1

ZIMMER
MARY ANN
MARY ANN ZIMMER, ESQ.
401 E 74TH ST
NEW YORK, NY 10021-3919
1385749
03/15/1976
1

ZIMMERN
WILLIAM HUNTLEY
MOORE &amp; VAN ALLEN BANK OF AMERICA CORP
100 N TRYON ST STE 4700
CHARLOTT, NC 28202-4003
4209086
02/10/2004
1

ZINKEVITCH
ELLADA 
Ironshore/Liberty Mutual
28 Liberty St FL 4
New York, NY 10005-1480
4335949
09/28/2005
2

ZIRINSKY
JOHN 
JOHN ZIRINSKY
60 E 42ND ST STE 550
NEW YORK, NY 10165-552
1030709
04/13/1977
2

ZOLLER
ERIC NATHAN
SIXPOINT PARTNERS
830 3RD AVE FL 8
NEW YORK, NY 10022-7523
4075230
07/23/2002
1

ZWICK
TRACY 
No Business Address
2992436
10/05/1999
1














